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                  EXHIBIT 1
                  [Redacted]
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 1 ROBBINS GELLER RUDMAN
     & DOWD LLP
 2 SHAWN A. WILLIAMS (213113)
   DANIEL J. PFEFFERBAUM (248631)
 3 KENNETH J. BLACK (291871)
   HADIYA K. DESHMUKH (328118)
 4 Post Montgomery Center
   One Montgomery Street, Suite 1800
 5 San Francisco, CA 94104
   Telephone: 415/288-4545
 6 415/288-4534 (fax)
   shawnw@rgrdlaw.com
 7 dpfefferbaum@rgrdlaw.com
   kennyb@rgrdlaw.com
 8 hdeshmukh@rgrdlaw.com
          – and –
 9 MARK SOLOMON (151949)
   JASON A. FORGE (181542)
10 RAPHAELLA FRIEDMAN (323324)
   655 West Broadway, Suite 1900
11 San Diego, CA 92101
   Telephone: 619/231-1058
12 619/231-7423 (fax)
   marks@rgrdlaw.com
13 jforge@rgrdlaw.com
   rfriedman@rgrdlaw.com
14
   Lead Counsel for Lead Plaintiff
15
   [Additional counsel appear on signature page.]
16
                               UNITED STATES DISTRICT COURT
17
                            NORTHERN DISTRICT OF CALIFORNIA
18
                                       OAKLAND DIVISION
19
   In re APPLE INC. SECURITIES                    ) Case No. 4:19-cv-02033-YGR
20 LITIGATION                                     )
                                                  ) CLASS ACTION
21                                                )
   This Document Relates To:                      ) [PROPOSED] SECOND AMENDED CLASS
22                                                ) ACTION COMPLAINT FOR VIOLATION
          ALL ACTIONS.                            ) OF THE FEDERAL SECURITIES LAWS
23                                                )
                                                    DEMAND FOR JURY TRIAL
24
                                           [REDACTED]
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 1 I.         INTRODUCTION
 2            1.         This is a federal securities class action on behalf of all persons and entities who

 3 purchased or otherwise acquired the publicly traded securities 1 of Apple Inc. (“Apple” or the

 4 “Company”) during the period from November 2, 2018 through January 2, 2019, inclusive (the

 5 “Class Period”), who suffered damages as a result of the conduct alleged herein. 2 The action is

 6 brought against Apple and certain of its executive officers for violations of the Securities Exchange

 7 Act of 1934 (the “Exchange Act”) and SEC Rule 10b-5 promulgated thereunder.

 8            2.         On June 23, 2020, pursuant to the Court’s June 2, 2020 Order Granting in Part and

 9 Denying in Part Defendant’s Motion to Dismiss (ECF 110) (“June 2, 2020 Order”), Lead Plaintiff

10 and Class Representative Norfolk County Council as Administering Authority of the Norfolk

11 Pension Fund (“Plaintiff”) filed the Revised Consolidated Class Action Complaint for Violation

12 of the Federal Securities Laws (ECF 114) (“Revised Complaint”). Consistent with the Court’s

13 June 2, 2020 Order denying Defendants’ motion to dismiss with respect to their November 1, 2018

14 statements, the Revised Complaint alleged the following two statements made by Defendant

15 Timothy D. Cook (“Cook”), on behalf of Apple, to be actionable under the Exchange Act and the

16 Private Securities Litigation Reform Act of 1995:

17                      The XS and XS Max got off to a really great start, and we’ve only been selling for
                         a few weeks. The XR, we’ve only got out there for, I guess, 5 – 5 days or so at this
18                       point and so that it’s – we have very, very little data there. Usually, there is some
                         amount of wait until a product shows – another product shows up in look, but in –
19
                         that – in looking at the data, on the sales data for XS and XS Max, there’s not
20                       obvious evidence of that in the data as I see it.

21                      In relation to China specifically, I would not put China in that category. Our
                         business in China was very strong last quarter. We grew 16%, which we’re very
22                       happy with. iPhone, in particular, was very strong double-digit growth there.3
23
   1   On February 4, 2020, the Court certified a Class of all persons and entities who purchased or
24 otherwise   acquired the publicly traded common stock of Apple. ECF 224. On April 15, 2022,
25 options or soldaApple
   Plaintiff filed   motion to certify a Class of all persons and entities who purchased Apple call
                          put options. ECF 239.
26   2Apple’s fiscal year ends in September of each calendar year. Apple’s 2018 fiscal year began
   on October 1, 2017 and ended on September 29, 2018 (“FY18”).
27
     3   See June 2, 2020 Order.
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 1            3.         Following an additional round of motion-to-dismiss briefing on the Revised

 2 Complaint, on November 4, 2020, the Court issued an Order Granting in Part and Denying in Part

 3 Defendants’ Motion to Dismiss the Revised Consolidated Class Action Complaint (ECF 123)

 4 (“November 4, 2020 Order”). In the November 4, 2020 Order, the Court again found Cook’s

 5 November 1, 2018 statement concerning the current state of the Company’s performance and

 6 operations in Greater China to be adequately alleged. However, the Court granted the motion to

 7 dismiss with respect to Cook’s statement that “‘[t]he XS and XS Max got off to a really great

 8 start’” in part due to removing certain allegations previously attributed to a former employee and

 9 confidential witnesses from the Revised Complaint. November 4, 2020 Order at 3, 11 & n.7. The

10 Court also granted the motion to dismiss with respect to Cook’s statement that the Company had

11 “very, very little data” concerning early demand for the iPhone XR (“XR Demand Statement”),

12 concluding that “Cook’s statement that he has ‘very, very little data’ regarding the iPhone XR

13 launch appears to be accurate.” Id. at 11. The Court further stated: “In short, these are the type of

14 vague, hedging, hyper-specific statements that are not likely to give investors an impression of a

15 state of affairs one way or the other.” Id.

16            4.         Plaintiff hereby submits this [Proposed] Second Amended Class Action Complaint

17 for Violation of the Federal Securities Laws (“PSAC”) alleging new material facts drawn from

18 internal Apple documents and deposition testimony obtained via discovery (and previously

19 unavailable to Plaintiff at the time it filed the Revised Complaint), which support the falsity and

20 materiality of the XR Demand Statement.

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 2                           .

 3            5.         During the November 1, 2018 conference call, Defendants were,         asked

 4 whether there was a connection between the Company’s disappointing 1Q19 revenue forecast and

 5 early results for the iPhone XR: “And what, if anything, can we take away from the December

 6 quarter guidance related to what you’re seeing for early demand on the XR?” In response, Cook

 7 falsely asserted that Apple possessed “very, very little data” on the iPhone XR and thus indicated

 8 that the weak 1Q19 guidance was not driven by current iPhone XR demand.

 9

10

11            6.         In addition to alleging new facts supporting the falsity of the XR Demand

12 Statement, the PSAC also includes supporting allegations conforming to the discovery obtained to

13 date.

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20 II.        BACKGROUND AND SUMMARY
21            7.         Apple is a multinational technology company headquartered in Cupertino,

22 California that designs, develops, and sells consumer electronics, computer software, and online

23 services. Apple is the world’s largest information technology company by revenue and the world’s

24 third-largest mobile phone developer by units sold. The Company’s best known products include

25 its iPhone smartphones, iPad tablet computers, Mac personal computers, iPod portable media

26 players, and Apple Watch smartwatches.
27

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 1 $5.7 billion to $12.5 billion year-over-year. On October 27, 2015, The Verge published an article

 2 titled “China is becoming Apple’s most important market” reporting as follows:

 3            [W]ith its rapidly growing middle class, Chinese carriers continued investment into
              LTE penetration – which is at 10 percent and growing – and Apple’s continued
 4            retail expansion in the country, China [was] becoming the key to sustaining the
              iPhone’s remarkable growth.
 5
                      Apple brought in $58.7 billion in revenue in China alone in fiscal 2015, a
 6            96 percent increase from $29.8 billion in fiscal 2014. Given the fact that just about
              half of China’s population has reliable access to the internet, the potential for
 7            sustained long-term iPhone growth lies directly within China’s borders.

 8            11.        In FY18, ended September 29, 2018, Greater China accounted for $52 billion in

 9 sales – nearly 20% of Apple’s total annual sales of $266 billion.5 In addition to representing nearly

10 20% of Apple’s total revenue in FY18 (hardware and services), China is also a high-margin market

11 (38%) for Apple, second only to Japan (44%).

12            12.        While China represents the Company’s highest growth market, China is also among

13 its most competitive. At the same time Apple’s iPhone sales revenues were growing in China (in

14 part due to Apple’s significant price increases), Chinese manufacturers including Huawei, Xiaomi,

15 and Oppo were launching scores of lower-priced smartphones more technologically advanced with

16 in-demand with features tailored for the Chinese market, thus competing with Apple’s iPhone

17 offerings and diminishing Apple’s pricing power.

18            C.         Prior to the Class Period, Trade Tensions Build Between the United
                         States and China as Economic Conditions Deteriorate
19
              13.        Apple’s business in China is susceptible to geopolitical trade maneuvers, and in the
20
     summer of 2018, tariffs imposed by the United States threatened Apple’s sales in Greater China.
21
     On April 3, 2018, the Trump Administration published a $50 billion list of Chinese products under
22
     consideration for a 25% tariff; and on July 6, 2018, the Trump Administration implemented $34
23
     billion of those import tariffs. On July 10, 2018, the Trump Administration announced another
24
     $200 billion list of Chinese products that would be subject to a 10% tariff. On July 20, 2018,
25

26
   5   Almost all of Apple’s Research & Development is conducted in the United States, while
27 components  for its products are manufactured around the world. The Company’s iPhones are
   assembled predominantly  in China.
28
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 1 former President Trump announced that his Administration was prepared to impose tariffs on all

 2 United States imports from China, totaling $504 billion in products in 2017. On August 7, 2018,

 3 the Trump Administration subjected the remaining $16 billion of the original $50 billion list of

 4 Chinese products to the 25% tariff, effective August 23, 2018. On September 17, 2018, the Trump

 5 Administration published another $200 billion list of Chinese products that would be subject to a

 6 10% tariff, which went into effect on September 24, 2018.

 7            14.        On June 14, 2018, The New York Times published an article titled “As China Curbs
 8 Borrowing Growth Shows Signs of Faltering” reporting that “the Chinese economy show[s] signs

 9 of slowing,” in part driven by China’s “ever-rising debt.” On June 20, 2018, these general concerns

10 were echoed when CNN Business published an article titled “China’s economy shows signs of

11 slowing. A trade war won’t help,” which stated that “[i]n recent weeks, concerns have been

12 mounting that growth in the world’s second-biggest economy is cooling faster than previously

13 expected.” The article explained further: “Official economic data for last month showed that

14 growth in important areas like exports, investments by companies and consumer spending all

15 declined compared with the same month a year ago.” The article also reported analysts believed:

16 “‘Economic growth [in China] appears likely to weaken further over the second half of the year,’”

17 attributing the slowdown to the “Chinese government’s push to rein in the huge levels of debt in

18 the country, which have risen sharply since the global financial crisis a decade ago.”

19            15.        On August 22, 2018, The New York Times published an article titled “China’s
20 Consumption Downgrade: Skip Avocados, Cocktails and Kids,” which highlighted a growing

21 cultural trend in China whereby consumers began to cut back on spending: “Welcome to China’s

22 ‘consumption downgrade’ culture, a potentially worrisome development for Beijing and the

23 world. . . . China’s consumer culture has by no means ground to a halt. But in the streets and on

24 the Chinese internet, the talk is about cutting back in ways big and small.” The article continued:

25                   A Chinese consumption downgrade could be felt around the world. Chinese
              spenders have been a key driver of their country’s economic growth in recent years.
26            China, in turn, has played a major role in global growth. Chinese consumers help
              global companies like Apple, General Motors, Volkswagen and many others. A
27            consumption downgrade could also embolden Mr. Trump in his trade fight with
              China, as he gambles that Beijing can’t take much more economic damage.
28
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 1                    On paper, the Chinese economy looks strong. Look closer, and the cracks
              begin to show. Retail sales this year have grown at their slowest pace in more than
 2            a decade. Wages in the private sector are growing at their slowest pace since the
              global financial crisis. The stock market has fallen by one-fifth.6
 3
              D.         Apple Announces a New Iteration of Very Expensive iPhones
 4
              16.        On September 12, 2018, in the midst of the ongoing trade war between the United
 5
     States and China, Apple introduced three new iPhones which updated the prior year’s models but
 6
     were not considered new or revolutionary in design: the iPhone XR (priced at $749/$799/$899);
 7
     the iPhone XS (priced at $999/$1149/$1349); and the iPhone XS Max (priced at
 8
     $1099/$1249/$1449).          Unlike the prior year’s iPhone X release in late 2017 (priced at
 9
     $999/$1149), the 2018 iPhones were, at least relative to previous iterations, not significant
10
     technological advancements. The more budget-friendly iPhone XR came in multiple bright colors,
11
     utilized a less-advanced LCD display and camera, and had a slower processor. The premium
12
     iPhone XS and XS Max featured a Super Retina OLED display, an all-screen stainless steel and
13
     glass design, faster processors, and enhanced cameras. The most expensive version in the 2018
14
     line-up (the iPhone XS Max (512GB)), launched at $1,449 – $300 more than the most expensive
15
     2017 offering (the iPhone X (256GB) at $1,149). While all three iPhones were announced on the
16
     same day, pre-orders for the XS and XS Max went live on September 14, 2018 and on sale on
17
     September 21, 2018. Pre-orders for the XR went live on October 19, 2018 and on sale on October
18
     26, 2018.
19
              17.        At the same time Apple announced its 2018 iPhones, Chinese manufacturers like
20
     Huawei, Oppo, and Xiaomi were offering arguably more innovative features for hundreds of
21
     dollars less per phone. For instance, Huawei’s P20 Pro sold for approximately $800 in China, and
22
     Xiaomi’s MIX 2S sold for approximately $500 in China. Huawei, Oppo, and Xiaomi had
23

24

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   6  On September 24, 2018, The Wall Street Journal published an article titled “Are China’s
27 Consumers in Trouble?” highlighting that disappointing retail sales have analysts debating whether
   consumption is heading for a bigger slowdown.
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 1 commandeered 24.6%, 20.5%, and 13.6% of the Chinese market, respectively, and were reportedly

 2 slashing Apple’s Chinese market share to 7.5%.7

 3            18.        Some analysts were bearish on the launch of the XS and XS Max. For example, on

 4 September 24, 2018, AppleInsider posted an article titled “iPhone XS and XS Max sales are ‘weak’

 5 says historically bearish Apple analyst” which stated that Rosenblatt Securities issued a report

 6 concluding that: “‘Overall, we believe iPhone XS and iPhone XS Max weekend sales were weak.’”

 7 According to the report:

 8            “[O]ur research suggests the iPhone XS order pipeline is very weak, resulting in
              leftover inventory of the iPhone XS. We continue to believe total iPhone XS and
 9            iPhone XS Max sales will be lower than total iPhone X sales over a two-month
              period.”
10
              E.         The Start of the Class Period: Defendants Misrepresent Business
11                       Conditions in China, Demand for New iPhone Offerings
12            19.        On November 1, 2018, Apple issued a press release announcing its financial results

13 for its 4Q18 and FY18, the period ended September 29, 2018, which boasted: “‘Over the past two

14 months, [Apple had] delivered huge advancements for [its] customers through new versions of

15 iPhone, Apple Watch, iPad and Mac as well as [its] four operating systems,’” and that as a result,

16 the Company had “‘enter[ed] the holiday season with [its] strongest lineup of products and services

17 ever.’” Already one-third of the way through the current quarter (1Q19), and purportedly based

18 on the strength of its “ramping” product lineup, Apple set its 1Q19 revenue expectations in a range

19 of $89 billion to $93 billion – “a new all-time record” – and its gross profit margins between 38%

20 and 38.5%. Despite being all “a new all-time record,” Apple’s 1Q19 forecast was disappointing

21 and below the analyst consensus of $93.2 billion.

22            20.        Later that evening, during a conference call for analysts and investors, Apple issued

23 a series of materially false and misleading statements and omissions about the current condition of

24 its business, in particular, demand for the Company’s new iPhone XS, XS Max, and XR, and the

25

26   7 In 2018 alone, Huawei reportedly introduced 26 new phones, many of which cost less than
   $400.  Likewise in 2018, Oppo reportedly released 19 new phones, many of which cost less than
27 $400. In 2018, Vivo and Xiaomi also offered a number of new products at similar and competitive
   price points.
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 1 strength of its business conditions in China, and whether early consumer demand for the iPhone

 2 XR impacted the Company’s 1Q19 guidance.

 3            21.        In prepared remarks, Maestri attributed the Company’s 1Q19 revenue outlook of

 4 $89 billion to $93 billion, which was below market expectations, to efforts to ramp up production

 5 of new products, which he said were going fairly well, but that there was uncertainty around

 6 supply-demand balance:

 7            [Maestri:] We have the strongest lineup ever as we enter the holiday season, and
              we expect revenue to be between $89 billion and $93 billion, a new all-time record.
 8            This range reflects a number of factors to be considered: First, we consider the
              effect on Q4 and Q1 of the launch timing of our new iPhones this year versus last
 9            year; Second, we expect almost $2 billion of foreign exchange headwinds; Third,
              we had an unprecedented number of products ramping, and while our ramps are
10            going fairly well, we have uncertainty around supply and demand balance; and
              fourth, we also face some macroeconomic uncertainty, particularly in emerging
11            markets.

12            22.        During the question-and-answer portion of the call, Cook was asked about

13 deceleration in China, the U.S.-China trade tariffs and trade tariff threats, and whether he could

14 talk about the trajectory of the business there. Cook assured investors that the only “emerging

15 markets that [Apple was] seeing pressure in [were] markets like Turkey, India, Brazil, [and] Russia

16 . . . where currencies ha[d] weakened.” Cook explicitly stated these were markets that were not

17 currently “growing the way we would like to see,” and excluded China specifically from the

18 category of emerging markets experiencing these negative economic pressures. In support, Cook

19 emphasized growth – and particularly iPhone growth that the Company experienced in China in

20 the prior quarter (4Q18):

21                     [Analyst:] Tim, there has been some real deceleration in some of these
              emerging markets, partly driven by some concerns around some of the rules the
22            administration is contemplating and partly driven by things that are more specific
              to China, for instance, like some of the regulations around gaming. So can you talk
23            about how you see the trajectory there for the business and what you think of the
              initiatives of some companies like Netflix and Fortnite trying to bypass the App
24            Store around subscriptions? And I have a follow-up.

25                    [Cook:] Sure. Great question. Starting with emerging markets. The
              emerging markets that we’re seeing pressure in are markets like Turkey, India,
26            Brazil, Russia, these are markets where currencies have weakened over the
              recent period. In some cases, that resulted in us raising prices, and those markets
27            are not growing the way we would like to see. To give you a perspective in – at
              some detail, our business at India in Q4 was flat. Obviously, we would like to see
28            that be a huge growth. Brazil was down somewhat compared to the previous year.
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 1            And so I think – or at least the way that I see these is each one of the emerging
              markets has a bit of a different story. And I don’t see it as some sort of issue that
 2            is common between those for the most part.

 3            In relation to China specifically, I would not put China in that category. Our
              business in China was very strong last quarter. We grew 16%, which we’re very
 4            happy with. iPhone, in particular, was very strong double-digit growth there.
 5            23.        When an analyst asked Defendants what, if anything, investors should take away

 6 from the Company’s lower-than-expected 1Q19 revenue outlook with respect to early demand for

 7 the recently released iPhone XR, Cook falsely and misleadingly stated that Apple had very little

 8 data on the iPhone XR and created the misleading impression that the lower-than-expected

 9 guidance was not a product of weak demand for the iPhone XR:

10                    [Analyst:] With the staggered iPhone launch, were you able to discern any
              impact on the Xs and Xs Max from buyers potentially waiting for the XR? And
11            what, if anything, can we take away from the December quarter guidance related
              to what you’re seeing for early demand on the XR? . . . .
12
                      . . . [Cook:] The Xs and Xs Max got off to a really great start, and we’ve
13            only been selling for a few weeks. The XR, we’ve only got out there for, I guess,
              5 – 5 days or so at this point and so that it’s – we have very, very little data there.
14            Usually, there is some amount of wait until a product shows – another product
              shows up in look, but in – that – in looking at the data, on the sales data for Xs and
15            Xs Max, there’s not obvious evidence of that in the data as I see it.

16            24.        During the call, the Company also surprised investors by announcing that Apple

17 would no longer disclose unit sales for iPhones and other hardware, asserting that such data was

18 no longer relevant for investors to evaluate the Company’s financial performance, all the while

19 assuring investors that despite the decision to withhold unit sales data, as in the past, the Company

20 would still experience strong performance:

21            [Maestri:] [S]tarting with the December quarter, we will no longer be providing
              unit sales data for iPhone, iPad and Mac. . . . As we accomplish these objectives,
22            strong financial results follow.

23                    As demonstrated by our financial performance in recent years, the number
              of units sold in any 90-day period is not necessarily representative of the underlying
24            strength of our business.

25            25.        On November 1, 2018, Canaccord Genuity issued a report stating that its “long-

26 term positive thesis [remained] intact” and emphasized that solid demand trends existed for the
27 iPhone XS, XS Max, and XR and Apple’s installed base would drive earnings.

28
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 1            We believe demand trends are solid for the three new iPhone models and
              anticipate strong ASPs and margin trends for the iPhone franchise going
 2            forward.
 3            26.

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11            27.        On November 2, 2018, investment analysts reiterated Defendants’ statements

12 concerning the Company’s performance, in particular referencing continuing growth in China and

13 that China was not being affected by issues impacting performance in emerging markets. For

14 example, J.P. Morgan issued a report stating as follows:

15            Apple cited pressures in emerging markets including Turkey, Brazil, India and
              Russia and challenges in growth following price increases. Separately, while
16            Apple continues to see solid growth in EM countries like China (+16% y/y in
              F4Q), it is facing regulatory hurdles relative to growth for the App Store.
17
              28.        On November 2, 2018, Argus also issued a report stating that the Company’s
18
     business in China was driven by “high-end appetite” for the XS, XS Max and XR iPhones:
19
              Despite mounting concerns over tariffs, Apple’s China business continues to
20            recover, based on high-end appetite for the new phones; China revenue rose 16%.
21                                                *      *      *

22                   Based on new features, we believe the new phones could prompt a strong
              upgrade cycle worldwide. We also believe the wide range of price points enhances
23            Apple’s ability to compete in emerging and frontier markets and in China . . . .
24            29.        Each of Defendants’ statements set forth in ¶¶22-23 concerning: (i) the purported

25 successful launch of, and status of demand for, the newly released iPhone XS, XS Max, and XR;

26 (ii) the current state of Apple’s business in Greater China and the impact of macroeconomic
27 conditions on the Company’s sales in Greater China; and (iii) the availability of data on the demand

28 for iPhone XR and its impact on the Company’s 1Q19 outlook was materially false and misleading
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 1 when made as Defendants knew or deliberately disregarded and failed to disclose the following

 2 facts:

 3                       (a)    that the U.S.-China trade tensions and economic conditions in China were

 4 negatively impacting sales and demand for Apple products, particularly iPhones;

 5                       (b)    the Company had already begun to see declining traffic in Apple’s retail

 6 stores and those of its channel partner stores in Greater China and reports of an overall contraction

 7 of the smartphone industry;

 8                       (c)

 9

10                   ;

11                       (d)

12

13

14                                                                                ;

15                       (e)

16

17                                                               ;

18                       (f)

19

20                                                               ; and

21                       (g)    the Company had already cut, or was preparing to further cut, production of

22 the iPhone XS, XS Max, and XR at multiple manufacturers by millions of units and reduce orders

23 from its largest suppliers of iPhone components for the current quarter and holiday season.

24            30.        In addition to the undisclosed facts stated above, the Company knew or deliberately

25 disregarded that unit sales for iPhones and other hardware was relevant to investors and the

26 Company’s financial performance, and withholding such unit sales would mask declines in unit
27 sales of the Company’s flagship product.

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 1            31.        Following the Company’s November 1, 2018 financial results and conference call,

 2 Apple’s stock price traded at artificially inflated prices as high as $213.65 on November 2, 2018.

 3            F.         Just Four Days After the November 1, 2018 Financial Results, Reports
                         Emerged from China that Apple Reduced iPhone Production at Its
 4                       Largest Manufacturers by Up to 100,000 Units per Day
 5            32.        On November 5, 2018, before the market opened, the Nikkei Asian Review
 6 published an article titled “Apple cancels Production boost for budget iPhone XR: sources,” (the

 7 “Nikkei Article”) reporting that Apple had instructed its top smartphone assemblers, Chinese

 8 manufacturers Foxconn and Pegatron, to “halt plans for additional production lines” for the

 9 recently released iPhone XR which indicated a reduction in expected sales by 20-25%:

10                    That means Foxconn . . . would produce around 100,000 fewer units daily
              to reflect the new demand outlook – down 20% to 25% from the original
11            optimistic outlook, this person said.
12                   Fellow Taiwanese manufacturer Pegatron faces a similar situation,
              suspending plans to ramp up production and awaiting further instructions from
13            Apple . . . .
14                                               *      *      *

15                    Apple also had asked smaller iPhone assembler Wistron to stand by for rush
              orders, but supply chain sources say the company will receive no orders for the
16            iPhone XR this holiday season.

17            33.        On the same day, RBC Capital Markets issued a report indicating that the

18 production suspensions at Foxconn and Pegatron noted in the Nikkei Article “could indicate muted

19 unit demand.” The news of production slowdown and falling demand for Apple’s latest iPhone,

20 published only four days after the November 1, 2018 earnings release and positive demand

21 statements, caused a $5.89 decline in Apple’s stock price, from a close of $207.48 per share on

22 November 2, 2018 to a close of $201.59 per share on November 5, 2018, but it continued to trade

23 at artificially inflated prices.

24            34.        On November 12, 2018, Wells Fargo issued a report titled “AAPL: Lumentum Cuts

25 Revenue Outlook by 17%+ (Midpoint) on Apple Order Cuts” estimating that Apple had reduced

26 iPhone production by “as much as . . . 30%” and the stock price was under pressure as a result.
27 The report was based on the negative earnings preannouncement by a key supplier of iPhone

28
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 1 components, Lumentum, which disclosed one of its largest customers (presumed to be Apple) told

 2 it to materially reduce shipments:

 3            Apple shares are under pressure this morning (11/12) following a negative
              preannouncement by key supplier, Lumentum (LITE).
 4
                                                *      *      *
 5
                      Lumentum’s preannouncement notes that the company has “. . . [r]ecently
 6            received a request from one of our largest Industrial and Consumer customers
              for laser diodes for 3D sensing to materially reduce shipments to them during our
 7            fiscal second quarter for previously placed orders that were originally scheduled
              for delivery during the quarter.” . . . We think investors could consider
 8            Lumentum’s updated guide as reflecting as much as a 30% cut in Apple orders.
 9            35.        Following the disclosures on Monday, November 12, 2018, Apple’s stock price

10 declined from a close of $204.47 per share on Friday, November 9, 2018, to a close of $194.17 per

11 share on Monday, November 12, 2018, but continued to trade at artificially inflated prices.

12            36.        On November 28, 2018, CNET News.com published an article titled “Apple says

13 the iPhone XR has been its top-selling iPhone since launch” in which Joswiak talks up the iPhone

14 XR as concerns swirl around demand for Apple’s newest smartphones. As the Company’s share

15 price declined on continued partial disclosures concerning iPhone production cuts at various points

16 in Apple’s supply chain, Joswiak touted a comparison between sales of the iPhone XR and the

17 iPhone XS and XS Max, separately:

18                   Apple’s iPhone XR has been outselling the iPhone XS and iPhone XS Max
              every day since the cheaper, colorful phone hit the market last month.
19
                      Greg Joswiak, Apple vice president of product marketing, told CNET in an
20            interview Wednesday that the device has “been our most popular iPhone each and
              every day since the day it became available.”
21
              37.        On December 4, 2018, Bloomberg published an article titled “Apple Resorts to
22
     Promo Deals, Trade-Ins to Boost iPhone Sales” which revealed that in October 2018, Apple shifted
23
     marketing staff and increased trade-in discounts to boost sales of the iPhone XS, XS Max, and XR
24
     in what was described as a “‘fire drill’” response to poor iPhone sales:
25
                      Company executives moved some marketing staff from other projects to
26            work on bolstering sales of the latest handsets in October, about a month after
              the iPhone XS went on sale and in the days around the launch of the iPhone XR,
27            according to a person familiar with the situation. This person described it as a
              “fire drill,” and a possible admission that the devices may have been selling below
28            some expectations.
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 1            38.        On December 4, 2018, Apple’s stock price declined from a close of $184.82 per

 2 share on December 3, 2018, to a close of $176.69 per share on December 4, 2018, but still

 3 continued to trade at artificially inflated prices.

 4            G.         For the First Time in More Than 15 Years, Apple Preannounces
                         Massive Earnings Shortfall; Blames Poor Performance in China
 5
              39.        Then, on January 2, 2019, after the close of trading, Apple disclosed the true
 6
     condition of its business, including the impact of deteriorating economic conditions in China,
 7
     among its largest growth markets, and demand for the iPhone. For the first time in more than 15
 8
     years, Apple preannounced that its financial results would miss public revenue projections, and
 9
     the miss would be by a wide margin – up to $9 billion.
10
              40.        In a “Letter from Tim Cook to Apple Investors,” Defendants reported revenue for
11
     1Q19 was expected to be $84 billion, far below the guidance range of $89 to $93 billion the
12
     Company had announced on November 1, 2018, just eight weeks earlier. Contrary to the
13
     Company’s prior assurances regarding the strength of its business in Greater China, the Company
14
     put the blame squarely on poor performance in Greater China:
15
                        “Most” of the revenue shortfall to guidance occurred in Greater China.
16
                        “Over 100%” of the quarter-over-quarter worldwide revenue decline occurred in
17                       Greater China.
18
                        iPhone revenue accounted for all of the revenue shortfall and was “primarily”
19                       due to poor sales in Greater China.

20            41.        The “Letter from Tim Cook to Apple Investors” stated in relevant part:

21            Emerging Market Challenges

22                   While we anticipated some challenges in key emerging markets, we did not
              foresee the magnitude of the economic deceleration, particularly in Greater
23            China. In fact, most of our revenue shortfall to our guidance, and over 100
              percent of our year-over-year worldwide revenue decline, occurred in Greater
24            China across iPhone, Mac and iPad.

25                   China’s economy began to slow in the second half of 2018. The
              government-reported GDP growth during the September quarter was the second
26            lowest in the last 25 years. We believe the economic environment in China has
              been further impacted by rising trade tensions with the United States.
27
                                                  *      *       *
28
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 1            iPhone
 2                   Lower than anticipated iPhone revenue, primarily in Greater China,
              accounts for all of our revenue shortfall to our guidance and for much more than
 3            our entire year-over-year revenue decline.
 4            42.        Following the publication of the “Letter from Tim Cook to Apple Investors,” Cook

 5 appeared on CNBC for an interview. Cook explained the impact that the slowing economy in

 6 China had on the Company’s 1Q19 sales and admitted facts indicating that the Company had, in

 7 fact, been seeing declines in and before November 2018, including in traffic in the Company’s

 8 retail stores, its channel partner stores, and reports of the contraction in the smartphone industry:

 9            [A]s we look at what’s going on in China – it’s clear that the economy begins to
              slow there for the second half. And what I believe to be the case is the trade
10            tensions between the United States and China put additional pressure on their
              economy.
11
              And so we saw, as the quarter went on, things like traffic in our retail stores,
12            traffic in our channel partner stores, the reports of the smartphone industry
              contracting, particularly bad in November – I haven’t seen the December number
13            yet, but I would guess that would not be good either. And so that’s what we’ve
              seen.
14
              43.        These disclosures from the Company were in stark contrast to the assurances
15
     Defendants made to investors on November 1, 2018, and caused Apple’s stock price to decline
16
     from a close of $157.92 per share on January 2, 2019, to a close of $142.19 per share on January
17
     3, 2019 on unusually heavy trading volume.
18
     III.     JURISDICTION AND VENUE
19
              44.        The claims asserted herein arise under §§10(b) and 20(a) of the Exchange Act, 15
20
     U.S.C. §§78j(b) and 78t(a), and Rule 10b-5 promulgated thereunder, 17 C.F.R. §240.10b-5.
21
              45.        Jurisdiction is conferred by 28 U.S.C. §§1331 and 1337 and §27 of the Exchange
22
     Act, 15 U.S.C. §78aa.
23
              46.        Venue is proper in this district pursuant to 28 U.S.C. §1391(b) and §27 of the
24
     Exchange Act, 15 U.S.C. §78aa. Substantial acts in furtherance of the alleged fraud or the effects
25
     of the fraud have occurred in this district.
26
              47.        In connection with the acts alleged in this Revised Consolidated Complaint,
27
     Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,
28
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 1 including, but not limited to, the mails, interstate telephone communications, and the facilities of

 2 the national securities markets.

 3 IV.        PARTIES TO THE ACTION
 4            48.        Lead Plaintiff and Class Representative Norfolk County Council as Administering

 5 Authority of the Norfolk Pension Fund purchased or otherwise acquired Apple common stock

 6 during the Class Period and suffered damages as a result of the conduct alleged herein.

 7            49.        Plaintiff City of Roseville Employees’ Retirement System purchased or otherwise

 8 acquired Apple common stock during the Class Period and suffered damages as a result of the

 9 conduct alleged herein.

10            50.        Plaintiff Employees’ Retirement System of the State of Rhode Island purchased or

11 acquired Apple common stock during the Class Period and suffered damages as a result of the

12 conduct alleged herein.

13            51.        Defendant Apple, Inc. is a tech company based in Cupertino, California. Apple

14 common stock is listed and trades on the NASDAQ, an efficient market, under the ticker symbol

15 “AAPL.” As of January 2, 2019, the Company had approximately 4.73 billion shares issued and

16 outstanding.

17            52.        Defendant Timothy D. Cook is, and was at all relevant times, Chief Executive

18 Officer (“CEO”) of Apple and a member of Apple’s Board of Directors.

19            53.        Defendant Luca Maestri is, and was at all relevant times, Senior Vice President and

20 Chief Financial Officer (“CFO”) of Apple.

21            54.        Defendants Cook and Maestri are referred to herein as the “Individual Defendants.”

22 Apple and the Individual Defendants are collectively referred to herein as “Defendants.”

23 V.         THE INDIVIDUAL DEFENDANTS CONTROLLED APPLE
24            55.        As officers and/or directors and controlling persons of a publicly held company

25 whose common stock is traded on the NASDAQ and governed by the provisions of the federal

26 securities laws, the Defendants had a duty to promptly disseminate accurate and truthful
27 information with respect to the Company’s financial condition, performance, growth, operations,

28 financial statements, business, markets, management, earnings, and present and future business
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 1 prospects; not to make material misrepresentations with respect thereto or to omit material facts

 2 necessary to make the statements contained therein not misleading; and to correct any previously

 3 issued statements that had become materially misleading or untrue so that the market price of the

 4 Company’s common stock would be based upon truthful and accurate information. The Individual

 5 Defendants’ misrepresentations and omissions during the Class Period violated these specific

 6 requirements and obligations.

 7            56.        Defendants participated in the drafting, preparation, and/or approval of the various

 8 public shareholder and investor reports, and other communications complained of herein, and were

 9 aware of, or deliberately disregarded, the misstatements contained therein and omissions therefrom

10 and their materially false and misleading nature. Because of their membership(s) on Apple’s

11 Board of Directors and/or executive and managerial positions within Apple, the Individual

12 Defendants had access to the adverse undisclosed information about the Company’s financial

13 condition and performance as particularized herein and knew (or deliberately disregarded) that

14 these adverse facts rendered the positive representations made by or about Apple and its business,

15 or adopted by the Company, materially false and misleading. 8

16            57.        The Individual Defendants, because of their positions of control and authority as

17 officers and/or directors of the Company, were able to and did control the content of the various

18 SEC filings, press releases, and other public statements pertaining to the Company during the Class

19 Period. Defendants were provided with copies of the documents or scripts of statements alleged

20 herein to be misleading prior to or shortly after issuance, and/or had the ability and/or opportunity

21 to prevent issuance of those statements or cause them to be corrected. Accordingly, Defendants

22 are responsible for the accuracy of the public reports and releases detailed herein.

23

24
     8
25 and Cook and Maestri closely monitored and publicly discussed the Chinese smartphone market
        Apple’s iPhone business there. Moreover, Cook frequently traveled to China and closely
26 tracked Apple’s business there. One article characterizes him as “a frequent flyer to China to both
   monitor a market that is critical to the U.S. tech giant’s success and to undertake board director
27 duties at Tsinghua University School of Economics and Management.” Jason Tars, Apple Boss
   Tim Cook Stays Low-Key in Busy Visit to China, Caixin Global (Oct. 11, 2018 5:33 PM),
28 https://tinyurl.com/y89c7k9v.
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 1            58.        The Company and the Individual Defendants, by disseminating materially false and

 2 misleading statements and/or concealing material adverse facts, are liable as participants in a

 3 fraudulent scheme and course of business that operated as a fraud or deceit on purchasers of Apple

 4 common stock. The scheme: (i) deceived the investing public regarding Apple’s business,

 5 operations, management, and the intrinsic value of Apple common stock; and (ii) caused Plaintiff

 6 and other members of the Class (as defined below) to purchase Apple common stock at artificially

 7 inflated prices.

 8 VI.        DEFENDANTS’  MATERIALLY     FALSE    AND   MISLEADING
              STATEMENTS AND OMISSIONS DURING THE CLASS PERIOD
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              59.
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18            A.         False and Misleading Statements During the November 1, 2018
                         Conference Call
19
              62.        On November 1, 2018, after the market closed, and more than one-third of the way
20
     through 1Q19 (ended December 29, 2018), Apple filed a Form 8-K attaching a press release
21
     containing the Company’s financial results for 4Q18 and FY18 (ended September 29, 2018).
22
     iPhone unit sales fell below consensus estimates, however, average selling prices (“ASPs”) were
23
     higher. Defendants also provided quarterly revenue guidance of $89 billion to $93 billion for
24
     1Q19, the upcoming and all-important holiday quarter – a revenue guidance range below what
25
     analysts were expecting.
26
              63.        Following the November 1, 2018 press release, Apple held a conference call for
27
     analysts and investors to discuss the results and financial guidance for 1Q19. The call was hosted
28
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 1 by Cook and Maestri. During the call, Defendants boasted of the strength of Apple’s business,

 2 including what they called the strongest lineup of products heading into the holiday season and

 3 what the Company touted as “all-time record” revenue guidance – though guidance was lower than

 4 market expectations. Maestri attributed the disappointing 1Q19 revenue outlook in part to

 5 uncertainty around supply-demand balance, suggesting the Company could not manufacture

 6 products quickly enough to meet demand, not that demand was weaker than supply:

 7            [Maestri:] We have the strongest lineup ever as we enter the holiday season, and
              we expect revenue to be between $89 billion and $93 billion, a new all-time record.
 8            This range reflects a number of factors to be considered: First, we consider the
              effect on Q4 and Q1 of the launch timing of our new iPhones this year versus last
 9            year; Second, we expect almost $2 billion of foreign exchange headwinds; Third,
              we had an unprecedented number of products ramping, and while our ramps are
10            going fairly well, we have uncertainty around supply and demand balance; and
              fourth, we also face some macroeconomic uncertainty, particularly in emerging
11            markets.

12            64.        Following Defendants’ prepared remarks, in response to a question from an analyst

13 about the variables affecting revenue guidance for 1Q19, including geopolitical trade and

14 macroeconomic issues, Maestri again pointed to uncertainty around supply-demand balance

15 without indicating that it was low demand – not low supply – which was responsible for the

16 disappointing guidance:

17            [Maestri:] [I]n the last 6 weeks, we’ve launched an unprecedented number of new
              products. They’re all ramping right now. The ramps are going fairly well, but
18            obviously, we have some uncertainty around supply-demand balance for some of
              these products. And then finally, the last point that we’ve taken into account is
19            what Tim’s talked about in terms of some level of uncertainty at the macroeconomic
              level in some emerging markets, where, clearly, consumer confidence is not as high
20            as it was 12 months ago. So take that into account, and that’s how we got to the
              range.
21
              65.        In addition, analysts concerned about economic conditions in emerging markets
22
     and issues related to China asked Cook about deceleration in emerging markets and, in particular,
23
     China.                     (see ¶60), Mohan asked Cook to specifically address the trajectory of the
24
     business in China in light of the deceleration there. In response, Cook falsely maintained that, to
25
     the extent Apple was seeing volatility and deceleration putting pressure on Apple’s business in
26
     emerging market countries, those markets were ones that were not growing the way he would like
27
     to see. Cook singled out China stating China was not in the category of markets experiencing such
28
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 1 pressure, in fact, in China, Apple’s business grew in 4Q18 and, specifically, iPhone business grew

 2 16% in 4Q18:

 3                     [Analyst:] Tim, there has been some real deceleration in some of these
              emerging markets, partly driven by some concerns around some of the rules the
 4            administration is contemplating and partly driven by things that are more specific
              to China, for instance, like some of the regulations around gaming. So can you
 5            talk about how you see the trajectory there for the business and what you think of
              the initiatives of some companies like Netflix and Fortnite trying to bypass the App
 6            Store around subscriptions? And I have a follow-up.

 7                    [Cook:] Sure. Great question. Starting with emerging markets. The
              emerging markets that we’re seeing pressure in are markets like Turkey, India,
 8            Brazil, Russia, these are markets where currencies have weakened over the recent
              period. In some cases, that resulted in us raising prices, and those markets are not
 9            growing the way we would like to see. To give you a perspective in – at some
              detail, our business at India in Q4 was flat. Obviously, we would like to see that
10            be a huge growth. Brazil was down somewhat compared to the previous year. And
              so I think – or at least the way that I see these is each one of the emerging markets
11            has a bit of a different story. And I don’t see it as some sort of issue that is common
              between those for the most part.
12
              In relation to China specifically, I would not put China in that category. Our
13            business in China was very strong last quarter. We grew 16%, which we’re very
              happy with. iPhone, in particular, was very strong double-digit growth there.
14            Our other products category was also stronger, in fact, a bit stronger than even
              the company – overall company number.9
15
              66.        In addition to inquiries into the current business in China, analysts asked Cook
16
     about the strength of demand for the new iPhones that started shipping in September 2018 – the
17
     premium iPhone XS and XS Max – and, specifically, in light of the lower-than-expected 1Q19
18
     revenue outlook, what investors should infer about early demand for the iPhone XR, which went
19
     live for pre-orders on October 19, 2018, and was available for purchase on October 26, 2018.
20

21

22

23
     Cook stressed that, to date, the XS and XS Max had gotten off to a really good start, but Defendants
24

25

26
   9  This is the same misstatement Plaintiff alleged in the Revised Complaint but provides
27 additional excerpts from the conference call transcripts upon which the Court relied in denying
   Defendants’  second motion to dismiss. ECF 123 at 2-3.
28
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 1 lacked sufficient data to judge the early demand for the iPhone XR, implying that nothing should

 2 be inferred from the disappointing guidance about its performance to date:

 3                    [Analyst:] With the staggered iPhone launch, were you able to discern any
              impact on the XS and XS Max from buyers potentially waiting for the XR? And
 4            what, if anything, can we take away from the December quarter guidance related
              to what you’re seeing for early demand on the XR? . . . .
 5
                      . . . [Cook:] The Xs and Xs Max got off to a really great start, and we’ve
 6            only been selling for a few weeks. The XR, we’ve only got out there for, I guess,
              5 – 5 days or so at this point and so that it’s – we have very, very little data there.
 7            Usually, there is some amount of wait until a product shows – another product
              shows up in look, but in – that – in looking at the data, on the sales data for Xs and
 8            Xs Max, there’s not obvious evidence of that in the data as I see it.

 9            67.        Finally, the Company surprised investors with the announcement that, going

10 forward, Apple would no longer report iPhone unit sales, purportedly on the basis that unit sales

11 were no longer relevant as ASPs increased.10 Calling on the Company’s historical financial

12 performance, Maestri added that the Company would nevertheless achieve strong results because

13 it was focused on products that customers wanted:

14            [Maestri:] [S]tarting with the December quarter, we will no longer be providing
              unit sales data for iPhone, iPad and Mac. As we have stated many times, our
15            objective is to make great products and services that enrich people’s lives and to
              provide an unparalleled customer experience so that our users are highly satisfied,
16            loyal and engaged. As we accomplish these objectives, strong financial results
              follow.
17
                      As demonstrated by our financial performance in recent years, the number
18            of units sold in any 90-day period is not necessarily representative of the underlying
              strength of our business. Furthermore, our unit of sale is less relevant for us today
19            than it was in the past given the breadth of our portfolio and the wider sales price
              dispersion within any given product line.
20
              68.        Questioned by one analyst whether the reason for withholding iPhone unit data was
21
     because “iPhone units are going to start going negative” and Defendants would prefer to “not show
22
     the details of things that are not going so great,” both Maestri and Cook rejected the suggestion of
23
     such motivation and insisted that the 1Q19 revenue and profit margin guidance being provided
24

25

26 priceAnalysts
   10            and journalists have used unit sales numbers to calculate iPhone’s average selling
         and “provide insight into how well different iPhone models are selling, as newer iPhones like
27 the XS, XS Max, and XR are priced higher than older models like the now-discontinued SE, 6S,
   and 6.” See Natt Garun, Apple will no longer reveal how many iPhones, iPads, and Macs it sells,
28 The Verge.com (Nov. 1, 2018 5:54 PM), https://tinyurl.com/y7unwykf.
     [PROPOSED] SECOND AMENDED CLASS ACTION COMPLAINT FOR VIOLATION OF THE
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 1 was all investors should focus on and that demand was still strong for Apple’s more expensive

 2 iPhone offerings. Defendants stated in pertinent part:

 3            [Analyst]: [A]nd then for Luca, there’d probably be a lot of pushback about not
              giving iPhone unit data. It sounds like you’re still going to give revenue data if I
 4            heard that correctly. But some people may fear that this now means that the iPhone
              units are going to start going negative year-over-year because it’s easy to talk about
 5            great things and not show the details of things that aren’t so great.

 6                                               *       *       *

 7            [Maestri:] Given the rationale on why we do not believe that providing unit sales
              is particularly relevant for our company at this point, I can reassure you that it is
 8            our objective to grow unit sales for every product category that we have. But as I
              said earlier, a unit of sale is less relevant today than it was in the past. To give you
 9            an example, the unit sales of iPhone at the top end of the line have been very strong
              during the September quarter. And that’s very important because we are attracting
10            customers to the most recent technologies and features and innovation that we bring
              into the lineup, but you don’t necessarily see that in the number that is reported.
11            And so therefore, we will – as I said, we’ll provide the qualitative commentary
              when it is important and relevant, but at the end of the day, we make our decisions
12            to – from a financial standpoint, to try and optimize our revenue and our gross
              margin dollars. And that, we think, is the focus that is in the best interest of our
13            investors.

14            [Cook:] Jim, let me just add a couple things to that for color. Our installed base is
              growing at double digit, and so there’s no – and that’s probably a much more
15            significant metric for us from an ecosystem point of view and customer loyalty, et
              cetera. The second thing is this is a little bit like if you go to the market and you
16            push your cart up to the cashier and she says or he says, “How many units you have
              in there?”, it sort of – it doesn’t matter a lot how many units there are in there in
17            terms of the overall value of what’s in the cart.

18            69.        Following the Company’s November 1, 2018 earnings release and conference call,

19 several securities analysts issued reports indicating that the 4Q18 financial results and Defendants’

20 commentary had been favorably received by investors. Despite the reported slowing and uncertain

21 economic conditions, analysts reported that Apple was continuing to experience strong demand

22 trends in Greater China – particularly for the iPhones – and the uncertainty in emerging markets

23 was not affecting Greater China.           Analysts also appeared to accept Apple’s reasoning for

24 withholding unit sales.

25            70.        On November 1, 2018, Canaccord Genuity issued a report titled “Solid Q4/F18;

26 long-term positive thesis intact – reiterate BUY and $250 PT” emphasizing that solid demand
27 trends existed for the iPhone XS, XS Max, and XR and Apple’s installed base would drive

28 earnings:
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 1            We believe Apple continues to grow its leading market share of the premium-tier
              smartphone market with double-digit growth of its installed base and believe the
 2            iPhone installed base of new iPhone consumers will exceed 700M exiting C2018.
              This impressive installed base should drive strong iPhone replacement sales and
 3            earnings, as well as cash flow generation to fund strong long-term capital returns.
              We maintain our BUY rating and $250 price target.
 4
                    . . . We believe demand trends are solid for the three new iPhone models
 5            and anticipate strong ASPs and margin trends for the iPhone franchise going
              forward.
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25            73.        On November 2, 2018, Argus issued a report titled “Analyst’s Notes,” consistent

26 with Defendants’ statements that the Company’s performance in China was strong, and that
27 Apple’s business in China was being driven by “high-end appetite” for the iPhones:

28
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 1                   Geographically, Apple delivered double-digit annual revenue growth in
              every region. The best growth came in Japan (8% of revenue) where sales grew
 2            over 30%. Americas revenue (44% of total) was up 19% annually. Revenue in
              Europe (25% of total) grew at an 18% rate. Despite mounting concerns over tariffs,
 3            Apple’s China business continues to recover, based on high-end appetite for the
              new phones; China revenue rose 16%.
 4
                                                *      *      *
 5
              We also believe the wide range of price points enhances Apple’s ability to compete
 6            in emerging and frontier markets and in China, where the iPhone in recent years
              has lost ground to high-quality, low-price rivals such as Xiaomi and Oppo.
 7
              74.        On November 2, 2018, J.P. Morgan issued a report titled “Growth Fundamentals
 8
     Intact, Despite Softer Revenue Guide on FX Headwind and Conservatism Related to Macro Risks”
 9
     reflecting Defendants’ representations that in China, Apple was not seeing the negative effects
10
     occurring in other emerging markets. Rather, analysts reported, consistent with the statements
11
     made by the Company, that Apple continued to see solid growth in China:
12
              While we believe that there is not much of a shortfall relative to guidance when it
13            comes to F1Q, it is important to remember that the firm has to navigate and execute
              amidst higher macro risks, particularly as relates to a softer outlook for emerging
14            market growth, weakening EM currencies necessitating price increases, as well as
              softening consumer confidence in that backdrop. For example, Apple cited
15            pressures in emerging markets including Turkey, Brazil, India and Russia and
              challenges in growth following price increases.
16
              Separately, while Apple continues to see solid growth in EM countries like China
17            (+16% y/y in F4Q), it is facing regulatory hurdles relative to growth for the App
              Store.
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              75.        On November 2, 2018, Wedbush issued a report titled “Cook Pulls the Plug on
19
     Metrics in a Houdini Like Move; Bullish Thesis Unchanged” noting that Apple beat street
20
     estimates, but “slightly missed iPhone unit shipments.” The report stated that the iPhone XS and
21
     XR product cycle was “the linchpin of the Apple story for FY19.”
22
                      Last night Apple delivered FY4Q (Sept.) results which beat the Street from
23            a headline number but slightly missed iPhone unit shipments which was the focus
              of investors. However the quarter itself took a back seat to the modestly softer
24            December guidance that Cook & Co. gave on the heels of its much anticipated
              XS/XR iPhone product cycle which remains the linchpin of the Apple story for
25            FY19. That said, the “jaw dropper” last night was when Apple announced it will
              stop providing units/ASPs for iPhones, Macs and its other product lines. . . .
26
              As explained on the conference call we understand the logic of not providing
27            these metrics anymore given that ASPs are all over the map and a slew of new
              smartphone releases has catalyzed Apple to focus more on overall segment
28            revenue rather than myopic quarterly unit sales. However, the skeptics will point
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 1            to Apple doing this right at the critical juncture where higher ASPs are making up
              for slower unit sales which remains the worry and the stock will get hit accordingly
 2            this morning. That said, . . . our core bull thesis does not change on the story and
              to some extent is emboldened by the ~$800 ASP story and a robust services
 3            business poised to hit $50 billion+ in FY20. . . . While last night’s “Houdini-like
              metrics move” was a stunner, our core bullish thesis on Apple remains unchanged
 4            despite the noise this morning. We maintain our OUTPERFORM rating and
              $310 price target.
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25            79.        While Apple’s revenue guidance range for 1Q19 provided on November 1, 2018,

26 was below what the market expected, Defendants’ materially false and misleading statements and
27 omissions served to prop up the market price of Apple stock which continued to trade at artificially

28 inflated levels as high as $213.65 on November 2, 2018.
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 1            B.         Reasons Defendants’ November 1, 2018 Statements Were Knowingly
                         False and Misleading
 2
              80.        Each of Defendants’ statements set forth in ¶¶65-66 concerning: (i) the purported
 3
     successful launch of, and status of demand for, the newly released iPhone XS, XS Max, and XR;
 4
     (ii) the current state of Apple’s business in Greater China and the impact of macroeconomic
 5
     conditions on the Company’s sales in Greater China; and (iii) the availability of data on the demand
 6
     for iPhone XR and its impact on the Company’s 1Q19 outlook was materially false and misleading
 7
     when made as Defendants knew or deliberately disregarded and failed to disclose the following
 8
     facts:
 9
                         (a)    that the U.S.-China trade tensions and economic conditions in China were
10
     negatively impacting sales and demand for Apple products, particularly iPhones;
11
                         (b)    the Company had already begun to see declining traffic in Apple’s retail
12
     stores and those of its channel partner stores in Greater China and reports of an overall contraction
13
     of the smartphone industry;
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                         (c)
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                         (d)
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                         (e)
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                         (f)
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 1                       (g)    the Company had already cut, or was preparing to further cut, production of

 2 the iPhone XS, XS Max, and XR at multiple manufacturers by millions of units and reduce orders

 3 from its largest suppliers of iPhone components for the current quarter and holiday season;

 4            81.        In addition to the undisclosed facts stated above, the Company knew or deliberately

 5 disregarded that unit sales for iPhones and other hardware was relevant to investors and the

 6 Company’s financial performance, and withholding such unit sales would mask declines in unit

 7 sales of the Company’s flagship product.

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     [PROPOSED] SECOND AMENDED CLASS ACTION COMPLAINT FOR VIOLATION OF THE
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     11   “N84” was Apple’s internal codename for the iPhone XR.
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     [PROPOSED] SECOND AMENDED CLASS ACTION COMPLAINT FOR VIOLATION OF THE
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     13   “Unbrickings” generally refers to end-user activations of Apple devices.
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     [PROPOSED] SECOND AMENDED CLASS ACTION COMPLAINT FOR VIOLATION OF THE
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     [PROPOSED] SECOND AMENDED CLASS ACTION COMPLAINT FOR VIOLATION OF THE
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     [PROPOSED] SECOND AMENDED CLASS ACTION COMPLAINT FOR VIOLATION OF THE
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27   14“Sell-in” refers to Apple sales to reseller partners, and “sell-through” refers to Apple reseller
   sales to end-consumers.
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     [PROPOSED] SECOND AMENDED CLASS ACTION COMPLAINT FOR VIOLATION OF THE
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     [PROPOSED] SECOND AMENDED CLASS ACTION COMPLAINT FOR VIOLATION OF THE
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     [PROPOSED] SECOND AMENDED CLASS ACTION COMPLAINT FOR VIOLATION OF THE
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     [PROPOSED] SECOND AMENDED CLASS ACTION COMPLAINT FOR VIOLATION OF THE
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     [PROPOSED] SECOND AMENDED CLASS ACTION COMPLAINT FOR VIOLATION OF THE
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     [PROPOSED] SECOND AMENDED CLASS ACTION COMPLAINT FOR VIOLATION OF THE
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     21   “LOB” refers to lines of business.
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     [PROPOSED] SECOND AMENDED CLASS ACTION COMPLAINT FOR VIOLATION OF THE
     FEDERAL SECURITIES LAWS - 4:19-cv-02033-YGR                             - 44 -
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17                       5.    Reports Emerge from China that Apple Slashed iPhone
                               Production by 100,000 Units per Day
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              118.       On November 5, 2018, before the market opened, the Nikkei Asian Review
19
     published the Nikkei Article reporting that Apple told its top smartphone manufacturers, Foxconn
20
     and Pegatron, to “halt plans for additional production lines” reducing daily iPhone production by
21
     100,000 units, and standby producer Wistron was informed it would receive no orders for the
22
     holiday season. Specifically, the article stated:
23
                       Apple has signaled disappointing demand for the new iPhone XR, telling
24            its top smartphone assemblers Foxconn and Pegatron to halt plans for additional
              production lines dedicated to the relatively cost-effective model that hit shelves in
25            late October, sources say.
26                     “For the Foxconn side, it first prepared nearly 60 assembly lines for Apple’s
              XR model, but recently uses only around 45 production lines as its top customer
27            said it does not need to manufacture that many by now,” a source familiar with the
              situation said.
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 1                   That means Foxconn, the Taiwanese company traded as Hon Hai Precision
              Industry, would produce around 100,000 fewer units daily to reflect the new
 2            demand outlook – down 20% to 25% from the original optimistic outlook, this
              person said.
 3
                     Fellow Taiwanese manufacturer Pegatron faces a similar situation,
 4            suspending plans to ramp up production and awaiting further instructions from
              Apple, a supply chain source said.
 5
                                                 *       *      *
 6
                      Apple also had asked smaller iPhone assembler Wistron to stand by for rush
 7            orders, but supply chain sources say the company will receive no orders for the
              iPhone XR this holiday season.
 8
              119.       On the same day, RBC Capital Markets issued a report titled “10-K Review: High
 9
     Off-balance Sheet Commitments Indicating Multiple Ramps” stating Apple’s production
10
     suspensions described in the Nikkei Article could indicate “muted” iPhone demand:
11
                      News Reports of Supply Chain Cuts: An unconfirmed Nikkei [Article]
12            stated that AAPL has asked supply chain partners Foxconn and Pegatron to stop
              preparing additional production lines for iPhone XR. While this could indicate
13            muted unit demand, we note that similar reports have been seen in past product
              cycles and AAPL has managed to navigate those relatively well, partially through
14            ASP uplift. However, investors are likely to remain cautious about supply chain
              data points intra-quarter.
15
              120.       Also on the same day, November 5, 2018, Barron’s published an article titled
16
     “Apple Stock Is Tanking Amid Questions About Demand for the iPhone XR” discussing the
17
     impact of the Nikkei Article and reiterated the expected reduction in demand by 20-25%:
18
                     The Nikkei Asian Review, citing an unnamed person familiar with the
19            matter, reported on Monday that Foxconn initially prepared to have almost 60
              assembly lines for the iPhone XR, but is now using only about 45 lines because
20            Apple said it didn’t need the extra production. The new outlook for demand for the
              iPhone XR is down 20% to 25% from the original, more optimistic level, according
21            to Nikkei Asian Review.

22                   Apple stock was down almost 4% in Monday morning trading, to about
              $199 per share, representing a loss in market capitalization of about $40 billion.
23
              121.       Similarly on the same day, November 5, 2018, Reuters published an article titled
24
     “US STOCKS-Oil stocks lift S&P 500; Apple pushes Nasdaq lower” which reported that:
25
                         *Apple falls on report of iPhone XR production stand down.
26
                                                 *       *      *
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     [PROPOSED] SECOND AMENDED CLASS ACTION COMPLAINT FOR VIOLATION OF THE
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 1                    The iPhone maker’s shares fell 3.7 percent to a 3-month low after a Nikkei
              report that the company had told its smartphone assemblers to halt plans for
 2            additional production lines dedicated to the iPhone XR.

 3            122.       In addition on the same day, November 5, 2018, RTT News published an article
 4 titled “Apple Climbs Off Worst Levels But Remains Notably Lower” reporting that:

 5                    Shares of Apple Inc. (AAPL) have climbed off their worst levels of the day
              but remain firmly in negative territory in afternoon trading on Monday. After hitting
 6            a three-month intraday low, Apple is currently down by 3 percent.

 7                    Apple initially extended the sell-off seen in the previous session after a
              report from Japan’s Nikkei newspaper said demand for the company’s iPhone
 8            XR appears to be disappointing.
 9            123.       In response to the news concerning production cuts at Apple’s supply chain partners

10 and the potential negative implications for iPhone demand, Apple’s stock price declined $5.89

11 from a close of $207.48 per share on November 2, 2019 to a close of $201.59 per share on

12 November 5, 2018, but continued to trade at artificially inflated prices.

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 1            2018. We would also note that Lumentum’s 10-Q disclosures highlight that
              Customer A (presumably Apple) accounted for 30.5% of total revenue in the
 2            September quarter – compared to 19.4% and 16.3% of total revenue in the prior
              and year ago quarters, respectively. Customer A accounted for 49.8% of
 3            Lumentum’s December 2017 quarter revenue.

 4                    Lumentum’s preannouncement notes that the company has “. . . recently
              received a request from one of our largest Industrial and Consumer customers
 5            for laser diodes for 3D sensing to materially reduce shipments to them during our
              fiscal second quarter for previously placed orders that were originally scheduled
 6            for delivery during the quarter.” The company has updated its F2Q19 revenue
              guide from $405-$430M to $335-$355M – a 17%+ reduction at the guide midpoint.
 7            We think investors could consider Lumentum’s updated guide as reflecting as
              much as a 30% cut in Apple orders.
 8
              134.       Following the November 12, 2018 disclosures, Apple’s stock price declined $9.83
 9
     from a close of $204.47 per share on Friday, November 9, 2018, to a close of $194.17 per share
10
     on Monday, November 12, 2018, on high trading volume, but Apple’s stock price continued to
11
     trade at artificially inflated prices.
12
              135.       On November 14, 2108, Guggenheim issued a report titled “AAPL – Downgrade
13
     to NEUTRAL as ASPs No Longer Enough” which downgraded Apple stock from “Buy” to
14
     “Neutral” under the view that iPhone unit sales would drop substantially in FY19, in part based
15
     upon the negative earnings and order reductions announced by suppliers like Lumentum. The
16
     report stated, in pertinent part:
17
              Following early supply-chain cuts, exemplified by Corning’s (GLW) softer Q4E
18            Gorilla Glass guide back in Oct, and now 3D sensing laser supplier Lumentum
              (LITE) and LCD supplier Japan Display (6740-TKS) both warning just this week,
19            we now estimate iPhone units -5%Y/Y in FY19E vs. flat Y/Y in FY18, BUT unlike
              last year do NOT see ASP increases providing enough offset, with our forecast that
20            blended iPhone ASPs increase only +3%Y/Y, leaving iPhone revenues -2%Y/Y.
              Moreover, we see growing risk of even softer iPhone unit demand, with downside
21            in China, India and other emerging markets, where Apple may need to start
              considering lower price points.
22
              136.       As the negative news continued to enter the market, Apple’s stock price declined
23
     from a close of $192.23 per share on November 13, 2018, to a close of $186.80 per share on
24
     November 14, 2018, a decline of $5.43 on more than 60.8 million shares traded.
25
              137.
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              138.       On November 28, 2018, CNET News.com published an article titled “Apple says
11
     the iPhone XR has been its top-selling iPhone since launch” in which Joswiak talks up the iPhone
12
     XR as concerns swirl around demand for Apple’s newest smartphones. The article quoted Joswiak
13
     claiming the XR has “‘been our most popular iPhone each and every day since the day it became
14
     available.’”
15
                     Apple’s iPhone XR has been outselling the iPhone XS and iPhone XS Max
16            every day since the cheaper, colorful phone hit the market last month.

17                    Greg Joswiak, Apple vice president of product marketing, told CNET in an
              interview Wednesday that the device has “been our most popular iPhone each and
18            every day since the day it became available.”

19                                              *       *       *

20                    The news comes amid worries about iPhone demand. Apple’s fiscal fourth-
              quarter results at the beginning of November showed it may be grappling with a
21            case of iPhone fatigue – but it’s still getting people to shell out more money for the
              phones they do buy. Apple said it didn’t sell as many iPhones as analysts expected
22            in the quarter that ended Sept. 29, and it projected lackluster revenue results for the
              December quarter. Apple also said it would no longer detail unit sales of its iPhone
23            and other major devices, a reversal from its strategy since first introducing the
              products.
24
                     Then last week, The Wall Street Journal reported that Apple has cut
25            production orders in recent weeks for all three 2018 iPhone models.

26                                              *       *       *
27                    Joswiak declined to comment about the WSJ report or iPhone demand in
              general beyond reiterating that the iPhone XR “has been the most popular and
28            best-selling” iPhone since it hit the market.
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 1            139.       On December 4, 2018, at approximately 1:00 a.m. PST, Bloomberg published an
 2 article titled “Apple Resorts to Promo Deals, Trade-Ins to Boost iPhone Sales.” The article

 3 reported that in October 2018, shortly after the iPhone XS and XS Max went on sale and again

 4 around the launch of the iPhone XR, Apple shifted marketing staff to “work on bolstering sales of

 5 the latest handsets,” in what was described as a “‘fire drill’” response to poor iPhone sales:

 6                    Apple Inc. is experimenting with iPhone marketing strategies it rarely uses
              – such as discount promotions via generous device buyback terms – to help goose
 7            sales of its flagship product.

 8                    Company executives moved some marketing staff from other projects to
              work on bolstering sales of the latest handsets in October, about a month after
 9            the iPhone XS went on sale and in the days around the launch of the iPhone XR,
              according to a person familiar with the situation. This person described it as a
10            “fire drill,” and a possible admission that the devices may have been selling below
              some expectations. The person asked not to be identified discussing private
11            strategy changes.

12                    Since then, Apple has embarked on a series of aggressive trade-in offers
              that have temporarily reduced the cost of some of its latest iPhones, a rare step for
13            a company that’s been raising device prices in recent years to lift revenue and profit.
              Apple spokeswoman Trudy Muller declined to comment.
14
                      On Sunday evening, Apple kicked these efforts into high gear, adding a new
15            banner to the top of its website advertising the iPhone XR for $449, $300 less than
              its official sticker price. The deal, noted with an asterisk and described at the
16            bottom of the page, requires customers to trade in an iPhone 7 Plus, a high-end
              handset from two years ago.
17
              140.       The December 4, 2018 Bloomberg article also reiterated the statements Joswiak
18
     made to CNET regarding the success of the XR, and acknowledged Joswiak’s statements were
19
     made in order to downplay concerns regarding lagging iPhone XR sales:
20
                       Apple marketing executive Greg Joswiak tried to quell concern about sales
21            by telling CNET last week that the iPhone XR has been the company’s best seller
              since it went on sale at the end of October.
22
              141.       On December 4, 2018, Apple’s stock price declined from a close of $184.82 per
23
     share on December 3, 2018, to a close of $176.69 per share on December 4, 2018, but continued
24
     to trade at artificially inflated prices.
25
              142.       On December 6, 2018, Forbes published an article titled “Why 40% iPhone
26
     Discount is Bad For Apple” reiterating many of the points in the December 4, 2018 Bloomberg
27

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 1 article, and adding that the price reduction would have substantial impact on the Company’s gross

 2 margin, concluding that slashing hardware costs was “strategic suicide” for the Company:

 3                    Apple’s iPhone X[R] bill of materials cost is $390, according to IHS Markit
              – so reducing the price from $749 to $449 sends its gross margin plummeting from
 4            48% to 13%.

 5                                                *      *       *

 6                    In the meantime, taking 40% of [sic] the iPhone price is strategic suicide
              for a company that has defined its strategy for its entire history as the high-priced
 7            spread.
 8            143.       On December 6, 2018, Apple’s stock price declined from a close of $176.69 per

 9 share on December 4, 2018, to a close of $174.72 per share on December 6, 2018, but continued

10 to trade at artificially inflated prices.

11            C.         Apple Discloses True Financial Condition, Pre-Announces Huge
                         Quarterly Earnings Miss
12
              144.       On January 2, 2019, after the close of trading, Apple disclosed its true financial
13
     condition. For the first time in more than 15 years, Apple pre-announced its earnings results,
14
     slashing quarterly revenue forecast for 1Q19, ended December 29, 2018, due to plummeting
15
     iPhone demand, particularly in China. In a “Letter from Tim Cook to Apple Investors,” Apple
16
     reported that its revenue for 1Q19 was approximately $84 billion, far below the guidance range of
17
     $89 billion to $93 billion the Company had announced on November 1, 2018, just eight weeks
18
     earlier. In contrast to the November 1, 2018 assurances that business in China remained strong
19
     and was not experiencing economic uncertainty or deterioration like certain emerging markets,
20
     Cook’s letter admitted that the Company’s guidance miss was due almost entirely to slowing
21
     iPhone sales in China. In fact, “most” of the total revenue shortfall occurred in China, “over 100
22
     percent” of the quarter-over-quarter worldwide revenue decline occurred in China, and iPhone
23
     revenue “primarily” in China accounted for all of the Company’s iPhone revenue shortfall against
24
     guidance:
25
              Emerging Market Challenges
26
                     While we anticipated some challenges in key emerging markets, we did not
27            foresee the magnitude of the economic deceleration, particularly in Greater
              China. In fact, most of our revenue shortfall to our guidance, and over 100
28
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 1            percent of our year-over-year worldwide revenue decline, occurred in Greater
              China across iPhone, Mac and iPad.
 2
                      China’s economy began to slow in the second half of 2018. The
 3            government-reported GDP growth during the September quarter was the second
              lowest in the last 25 years. We believe the economic environment in China has
 4            been further impacted by rising trade tensions with the United States. As the
              climate of mounting uncertainty weighed on financial markets, the effects appeared
 5            to reach consumers as well, with traffic to our retail stores and our channel partners
              in China declining as the quarter progressed. And market data has shown that the
 6            contraction in Greater China’s smartphone market has been particularly sharp.
 7                                               *       *      *

 8            iPhone
 9                   Lower than anticipated iPhone revenue, primarily in Greater China,
              accounts for all of our revenue shortfall to our guidance and for much more than
10            our entire year-over-year revenue decline. In fact, categories outside of iPhone
              (Services, Mac, iPad, Wearables/Home/Accessories) combined to grow almost 19
11            percent year-over-year.

12                    While Greater China and other emerging markets accounted for the vast
              majority of the year-over-year iPhone revenue decline, in some developed
13            markets, iPhone upgrades also were not as strong as we thought they would be.
              While macroeconomic challenges in some markets were a key contributor to this
14            trend, we believe there are other factors broadly impacting our iPhone performance,
              including consumers adapting to a world with fewer carrier subsidies, US dollar
15            strength-related price increases, and some customers taking advantage of
              significantly reduced pricing for iPhone battery replacements.
16
              145.       Though Apple did not conduct a conference call on January 2, 2019, Cook appeared
17
     on CNBC that evening for an interview. In the context of “rising trade tensions,” Cook discussed
18
     the impact that the slowing economy had on the Company’s FY19 sales.                  Cook admitted
19
     Defendants’ contemporaneous knowledge of facts directly contradicting their November 1, 2018
20
     statement that China was not experiencing the macroeconomic issues plaguing other emerging
21
     markets. In fact, according to Cook, it was clear during the second half of 2018, that China’s
22
     slowing economy was impacting the Company and prior to, and during the Class Period,
23
     Defendants “saw” declines in the Company’s retail store traffic and its channel partner store traffic
24
     and reports of contraction in the smartphone industry:
25
              [A]s we look at what’s going on in China – it’s clear that the economy begins to
26            slow there for the second half. And what I believe to be the case is the trade
              tensions between the United States and China put additional pressure on their
27            economy. . . .

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 1            [W]e saw, as the quarter went on, things like traffic in our retail stores, traffic in
              our channel partner stores, the reports of the smartphone industry contracting,
 2            particularly bad in November – I haven’t seen the December number yet, but I
              would guess that would not be good either. And so that’s what we’ve seen.
 3
                                                *       *       *
 4
              [M]y sense is the much larger issue is the slowing of the economy and then this
 5            – the trade tension that’s further pressured.
 6            146.       In the wake of Apple’s earnings preannouncement, a slew of analysts and media

 7 outlets expressed shock at the magnitude and severity of the Company’s negative performance in

 8 China – which accounted for the entire guidance miss – and commented that Defendants had failed

 9 to be honest with investors, damaging their credibility.

10            147.       On January 2, 2019, Wells Fargo issued a report titled “AAPL: Neg. F1Q19

11 Prean[nouncement] – iPhone Rev[enue] -15%+ Y/Y; A Multi-Quarter Challenge” which reiterated

12 Defendants’ statements that poor performance in China was the driver of the earnings miss:

13                  APPLE NEGATIVELY PREANNOUCNES [sic] F1Q19 RESULTS;
              MORE THAN A ONE QUARTER ISSUE: Apple has preannounced negative
14            F1Q19 results – revenue now estimated at ~$84B vs. initial $89-$93B guide. . . .

15            Apple’s greater-than-expected weakness in emerging markets, most notably
              driven by weakness in Greater China.
16
              Apple notes that over 100% of Apple’s y/y revenue decline was generated by
17            weakness in Greater China across iPhone, iPad, and Mac (leaving us / investors
              to question the impact of the US-China trade situation).
18
              148.       The same day, Bloomberg published an article titled “Apple’s iPhone Warning
19
     Comes Years Too Late – The company has reached the end of its denial phase.” The article
20
     emphasized that Apple and Cook had consistently assured investors business in China was strong
21
     and did not give any hints of red flags in the region:
22
              In an extraordinary letter to Apple investors, CEO Tim Cook also told stockholders
23            what he should have been saying for years: The company’s iPhone business has
              shifted into a lower gear because of changes in the smartphone market and
24            consumer behavior. This should have been absolutely predictable to anyone who
              was able to peer outside of Apple’s bubble. Executives have failed in their duty
25            to warn investors ahead of time about all this, and reality is finally and all at once
              catching up to Apple.
26
                     In his letter, Cook said in some established markets outside of China,
27            iPhone “upgrades also were not as strong as we thought they would be.” (Upgrades
              are people with older-model iPhones opting to buy new models.)
28
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 1                                               *      *      *

 2                    Cook said two months ago that Apple’s China business was “very strong,”
              even amid signs of an economic slowdown and months of headlines about trade
 3            tensions with the U.S. He consistently told investors that he thought the U.S. and
              China would resolve their trade dispute amicably and didn’t give any indications
 4            that consumers were on edge or reluctant to shop because of the geopolitical fracas.
              It’s possible that the last couple of months of economic circumstances in China,
 5            Taiwan and Hong Kong caught Apple by surprise, but executives failed to give any
              hints of red flags in the region.
 6
                     It’s possible conditions in China changed quickly, but the broader trends in
 7            smartphone activity are not new. Why didn’t Cook make any of these admissions
              before now?
 8
                                                 *      *      *
 9
                      Apple failed in the No. 1 mission of being a public company: being honest
10            with investors about its business. The company simply denied the reality that was
              staring it in the face, until denial was no longer an option.
11
              149.       On January 3, 2019, Wedbush issued a report titled “Apple’s Darkest Day in the
12
     iPhone Era; Massive Negative Dec Results on China” in which it referred to the preannouncement
13
     variously as “Apple’s Darkest Day,” a “bombshell,” a “‘black eye,’” and a “defining moment for
14
     Cook & Co.” The report stated in relevant part:
15
                      Last night Apple delivered a bombshell negative preannouncement that
16            will be a defining moment for Cook & Co. for years to come. While the Street had
              been anticipating softness in the December quarter and around March guidance
17            given a slew of negative iPhone XS/XR data points coming out of the Asia supply
              chain over the past few months, the magnitude of the top-line miss (~8%) with
18            China demand the culprit was jaw dropping in our opinion and will heavily weigh
              on shares accordingly. . . .
19
              While emerging markets and US/Europe remain softer than expected, China
20            remains Apple’s Achilles heel as with roughly 20% of all iPhones in a window of
              an upgrade opportunity out of the China region it appears of the 60 million to 70
21            million in the region less than 20 million have upgraded to an X/XS/XR to date.

22            150.       On January 3, 2019, Morgan Stanley issued a report titled “Weak China More than

23 Offsets Revenue Strength Outside of iPhone; Lowering Estimates” which stated that this was the

24 Company’s first negative pre-announcement in 15 years and reduced FY19 iPhone sales estimates

25 by 17%:

26                   Weak Greater China iPhone sales largely to blame for Apple’s first
              negative preannouncement in 15 years. As we highlighted in early December,
27            China is following in the footsteps of the US market with lengthening smartphone
              replacement cycles slowing overall market growth. A weakening economy
28            combined with improved smartphone product quality (i.e. higher quality
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 1            components and assembly leading to longer useful lives), smartphone ASPs that
              are up 22% over the past two years (per IDC) and a lack of carrier subsidies
 2            contributed to weaker China iPhone sales in the December quarter.

 3            151.       On January 3, 2019, Yahoo! Finance published an article titled “Apple’s mind-
 4 blowing warning means CEO Tim Cook now has a major credibility problem” stating that Apple

 5 did a “poor job” with 1Q19 guidance and investors would be questioning whether to trust Apple

 6 management. The article reported in relevant part:

 7            They failed to keep it real with investors on what they were seeing in iPhone
              demand data late in 2018. Simply no longer providing unit sales data wasn’t
 8            enough of a signal to investors that something was wrong, bottom line.
 9                       As a result, Apple’s stock could be “broken” until credibility is restored.
10                                                 *      *       *

11            A poor job done with guidance.
12                    Apple said in a filing released after market close Wednesday that it now
              sees first quarter revenue of about $84 billion. It previously anticipated $89 billion
13            to $91 billion. In the filing, Cook attributed the reduced guidance to weakness in
              emerging markets and in Greater China as well as supply constraints on new
14            products. Cook also hinted strongly that Apple felt resistance from consumers to
              the new $1,000 plus iPhone XS line.
15
                                                   *      *       *
16
                     But a little more than two months ago Cook and Apple Chief Financial
17            Officer Luca Maestri were singing from a different hymn sheet. Judging by their
              comments on Apple’s fourth fiscal quarter earnings call on November 1, Apple
18            was in fine standing around the globe. Interest in new iPhones was running high.
              Investors should ignore executives deciding to remove a key piece of guidance
19            (iPhone unit sales) that has been key in assessing Apple’s fundamentals for years.

20                       Some comments of interest from that November call.

21                                                 *      *       *

22                   Cook cited “macroeconomic” issues holding back results three times in his
              new letter. That isn’t exactly on par with Maestri’s “some level of uncertainty”
23            expressed in November.

24                    Tim Cook: “To give you a perspective in of some detail, our business in
              India in Q4 was flat. Obviously, we would like to see that be a huge growth. Brazil
25            was down somewhat compared to the previous year. And so I think, or at least the
              way that I see these, is each one of the emerging markets has a bit of a different
26            story, and I don’t see it as some sort of issue that is common between those for the
              most part.
27
                    In relation to China specifically, I would not put China in that category.
28            Our business in China was very strong last quarter. We grew 16%, which we’re
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 1            very happy with. iPhone in particular was very strong, very strong double-digit
              growth there. Our other products category was also stronger, in fact, a bit
 2            stronger than even the overall company number.”
 3                    Nothing here from Cook indicates China would be mostly blamed as the
              culprit for a nasty financial warning some two months later.
 4
              152.       On January 3, 2019, The Wall Street Journal published an article titled “Apple
 5
     iPhone Loses Ground to China’s Homegrown Rivals” which stated that Apple was “sputtering” in
 6
     China and noted that Apple’s Chinese competitors had been able to “win over consumers by
 7
     offering similar designs and features at far lower prices.” The article reported that Apple had
 8
     overestimated demand in China for the iPhone XR in particular, winding up with excess inventory,
 9
     noting that a comparable phone from Huawei was approximately two-thirds the price.
10
              153.       On January 3, 2019, BBC News published an article titled “Apple’s China warning
11
     ‘deflects deeper problems’ for firm,” which reported that Apple had been buoying revenues in
12
     China in recent years by raising prices. However, given the general downward macroeconomic
13
     trend in China, that practice “has become more difficult as consumers curb spending.”
14
              154.       On this news, Apple’s stock price declined precipitously by more than $15 per
15
     share, or approximately 10%, from a close of $157.92 per share on January 2, 2019, to a close of
16
     $142.19 per share on January 3, 2019, on unusually high volume of more than 91.1 million shares
17
     traded, the highest one-day trading volume experienced by the Company in nearly two years.
18
              D.         Post Class Period, Further Details of the iPhone’s Poor China
19                       Performance Emerge
20            155.       On January 6, 2019, The Guardian published an article titled “To woo China, Apple
21 must learn that it’s not in California anymore,” noting the myriad issues Apple faced in China

22 throughout the Class Period, including a lack of innovation and high prices relative to its

23 competitors. Despite these difficulties, Apple continually assured the market that all was well.

24 Further, the article discussed that Apple’s service revenues were “overwhelmingly reli[ant] on the

25 iPhone as the conduit,” and that Apple “must seek to extend sales as much as possible,” noting

26 that iPhone sales were “critical for [Apple] to maintain its current 1.3-billion-plus user base if
27 services are to become the main driver of revenue.”

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 1            156.       On January 14, 2019, Wedbush issued a report titled “Price Cuts in China and

 2 Content M&A Will Lay the Groundwork for Apple’s Future” which discussed the reasons for the

 3 poor performance of the iPhone XS, XS Max, and XR in China:

 4                    China installed base is key for success going forward. However if the
              installed base declines in China, Apple will face an uphill battle in the region for
 5            years and thus speaks to challenges worldwide around this latest upgrade cycle with
              the main culprit being weak China demand. . . . The next trifecta of smartphones
 6            coming out of Apple slated for September 2019 will be another attempt to catalyze
              pent-up upgrades worldwide and especially in China, with many customers
 7            approaching 32-33 months since their last iPhone upgrade as high price points,
              battery replacements, and a lack of hardware innovation has kept customers on the
 8            sideline during this latest XS/XR cycle.

 9            157.       On January 29, 2019, Apple released its results for 1Q19, ended December 29,

10 2018. That same day, during the conference call held with analysts and investors, Cook again

11 attributed the drop in iPhone sales to weak macroeconomic conditions, especially in China.

12 Specifically, 100% of the Company’s worldwide year-over-year revenue decline was driven by

13 poor performance in Greater China. Cook stated in pertinent part:

14                    [Cook:] As you know, our December quarter revenue was below our
              original expectations coming in at $84.3 billion. That’s down 5% from a year ago
15            or down 3% adjusting for foreign exchange. We noted 4 factors that would impact
              our results when we provided guidance in November: different iPhone launch
16            timing from a year ago, FX headwinds, supply constraints on certain products and
              macroeconomic conditions in emerging markets.
17
                     One of those factors, weak macro conditions in some emerging markets,
18            was significantly more severe than we originally foresaw, especially in Greater
              China. As our letter noted, that challenge was compounded by quarterly iPhone
19            upgrades that were lower than we anticipated. We’ll return to upgrades in a
              moment, but I first want to say a bit more about our business in Greater China.
20            Our revenue there was down by $4.8 billion from last year with declines across
              iPhone, Mac and iPad. Most of the shortfall relative to our original guidance
21            and over 100% of our worldwide year-over-year revenue decline was driven by
              our performance in Greater China.
22
                                                *      *       *
23
                      Now our customers are holding on to their older iPhones a bit longer than
24            in the past. When you pair this with the macroeconomic factors, particularly in
              emerging markets, it resulted in iPhone revenue that was down 15% from last year.
25            Our iPhone results accounted for significantly more than our entire year-over-year
              revenue decline. In fact, outside of iPhone, our business grew strongly by 19%.
26
              158.       Maestri noted that iPhone revenues declined 15% year-over-year and were not
27
     expected to rebound in 2Q19. Maestri stated, in pertinent part:
28
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 1            [Maestri:] iPhone revenue was $52 billion. On a geographic basis, most of the
              decline from last year came from Greater China and other emerging markets, where
 2            difficult macro and foreign exchange conditions affected our results. We also
              believe that the reduction of carrier subsidies and our battery replacement program
 3            had an impact in a number of countries around the world. And as Tim mentioned,
              we had a lower number of upgrades than we had anticipated at the beginning of the
 4            quarter.

 5                                                *      *      *

 6            [W]e expect that the key factors that Tim mentioned during the call affecting iPhone
              performance in Q1 will also have an effect on Q2 starting with the strong U.S.
 7            dollar environment. On a year-over- year basis, the negative impact from currency
              is going to be about $1.3 billion, so that’s about – a bit more than 2 points versus
 8            last year’s revenue. And so that obviously plays a role. And the macroeconomic
              environment, particularly in emerging markets, will continue to be there. On the
 9            positive side, we expect that we will continue to grow revenue nicely from the rest
              of the business, which is not iPhone.
10
     VII.     LOSS CAUSATION/ECONOMIC LOSS
11
              159.       As detailed herein, the Company issued materially false and misleading statements
12
     and omissions concerning positive sales of the latest iPhone models and the strength of the
13
     Company’s business in China. See ¶¶65-66. These material misrepresentations and omissions
14
     caused Apple’s stock price to trade at artificially inflated prices throughout the Class Period,
15
     including a Class Period high of $213.65 per share on November 2, 2018. When the truth regarding
16
     Defendants’ misrepresentations and omissions became generally known, the price declined as the
17
     artificial inflation dissipated and Plaintiff and other members of the Class suffered economic loss,
18
     i.e., damages, under the federal securities laws. These disclosures of the truth include, but are not
19
     limited to, the following:
20
              160.       On November 5, 2018, at 4:27 a.m. ET, before the market opened, the Nikkei Asian
21
     Review published the Nikkei Article reporting that Apple told its top smartphone assemblers,
22
     Foxconn and Pegatron, to reduce iPhone XR production, and that Wistron, previously on standby
23
     for rush orders, would receive none, indicating a reduction in demand by 20-25%:
24
                       “For the Foxconn side, it first prepared nearly 60 assembly lines for Apple’s
25            XR model, but recently uses only around 45 production lines as its top customer
              said it does not need to manufacture that many by now,” a source familiar with the
26            situation said.
27                    That means Foxconn . . . would produce around 100,000 fewer units daily
              to reflect the new demand outlook – down 20% to 25% from the original
28            optimistic outlook, this person said.
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 1                   Fellow Taiwanese manufacturer Pegatron faces a similar situation,
              suspending plans to ramp up production and awaiting further instructions from
 2            Apple, a supply chain source said.
 3                                                *      *      *

 4                    Apple also had asked smaller iPhone assembler Wistron to stand by for rush
              orders, but supply chain sources say the company will receive no orders for the
 5            iPhone XR this holiday season.

 6 See ¶118.

 7            161.       On the same day, RBC Capital Markets issued a report titled “10-K Review: High

 8 Off-balance Sheet Commitments Indicating Multiple Ramps” stating Apple’s production

 9 suspensions could indicate “muted” iPhone demand:

10                    News Reports of Supply Chain Cuts: An unconfirmed Nikkei [Article]
              stated that AAPL has asked supply chain partners Foxconn and Pegatron to stop
11            preparing additional production lines for iPhone XR. While this could indicate
              muted unit demand . . . .
12
     See ¶119.
13
              162.       On November 5, 2018, Barron’s published an article at 10:09 a.m. ET titled “Apple
14
     Stock Is Tanking Amid Questions About Demand for the iPhone XR” discussing the impact of the
15
     Nikkei Article which reiterated the expected reduction in demand by 20-25%:
16
              The new outlook for demand for the iPhone XR is down 20% to 25% from the
17            original, more optimistic level, according to Nikkei Asian Review.

18                   Apple stock was down almost 4% in Monday morning trading, to about
              $199 per share, representing a loss in market capitalization of about $40 billion.
19            Apple didn’t immediately respond to an email request for comment.

20 See ¶120.

21            163.       On November 5, 2018, Reuters published an article titled “US STOCKS-Oil stocks
22 lift S&P 500; Apple pushes Nasdaq lower” reporting that the Company’s stock price was declining

23 because of disclosures in the Nikkei Article:

24                       *Apple falls on report of iPhone XR production stand down.
25                    The iPhone maker’s shares fell 3.7 percent to a 3-month low after a Nikkei
              report that the company had told its smartphone assemblers to halt plans for
26            additional production lines dedicated to the iPhone XR.
27 See ¶¶121-122.

28
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 1            164.       As a result of this new information concerning production cuts at Apple

 2 manufacturers, and reports reiterating the news, Apple’s stock price declined from a close of

 3 $207.48 per share on November 2, 2018, to a close of $201.59 per share on November 5, 2018, a

 4 decline of $5.89 on more than 66.1 million shares traded. However, the Company’s stock price

 5 continued to trade at artificially inflated prices as the truth concerning the Company’s financial

 6 condition was yet to be fully revealed.

 7            165.       On November 12, 2018, Wells Fargo issued a report titled “AAPL: Lumentum Cuts

 8 Revenue Outlook by 17%+ (Midpoint) on Apple Order Cuts.” Lumentum, a supplier of iPhone

 9 components, issued a negative preannouncement due to a reduction by one of its largest customers

10 – identified as Apple. The report inferred that the reduction in Lumentum earnings indicated a

11 30% reduction in Apple orders and Apple’s stock price would be “under pressure” – i.e., decline

12 – as a result:

13            Apple shares are under pressure this morning (11/12) following a negative
              preannouncement by key supplier, Lumentum (LITE).
14
                                                   *       *      *
15
                      Lumentum’s preannouncement notes that the company has “. . . recently
16            received a request from one of our largest Industrial and Consumer customers for
              laser diodes for 3D sensing to materially reduce shipments to them during our
17            fiscal second quarter for previously placed orders that were originally scheduled
              for delivery during the quarter.” . . . We think investors could consider
18            Lumentum’s updated guide as reflecting as much as a 30% cut in Apple orders.
19 See ¶133.

20            166.       As a result of this new information, Apple’s stock price declined from a close of

21 $204.47 per share on November 9, 2018, to a close of $194.17 per share on November 12, 2018,

22 a decline of $10.30 on more than 51.1 million shares traded. However, the Company’s stock price

23 continued to trade at artificially inflated prices as the truth concerning the Company’s financial

24 condition was yet to be fully revealed.

25            167.       On January 2, 2019, after the close of trading, Apple disclosed the true state of its

26 declining iPhone sales. In a “Letter from Tim Cook to Apple Investors” Apple reported that its
27 revenue for 1Q19 was approximately $84 billion, far below the guidance range of $89 billion to

28 $93 billion the Company had provided on November 1, 2018, just eight weeks earlier. Cook’s
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 1 letter attributed the miss almost entirely to slowing iPhone sales in China, noting that most of the

 2 revenue shortfall occurred in Greater China, that 100% of the year-over-year worldwide revenue

 3 decline occurred in Greater China, and iPhone revenue missed primarily due to Greater China.

 4 ¶144.

 5            168.       During an interview with CNBC that evening, Cook admitted it was clear that

 6 China’s economy began to slow in the second half of 2018 and had been further impacted by rising

 7 trade tensions with the United States, including Cook’s statements indicating that, prior to and

 8 during the Class Period, Defendants saw declines in traffic in the Company’s retail stores and its

 9 channel partner stores and reports of the contraction of the smartphone industry:

10            [A]s we look at what’s going on in China – it’s clear that the economy begins to
              slow there for the second half. And what I believe to be the case is the trade
11            tensions between the United States and China put additional pressure on their
              economy. . . . [W]e saw, as the quarter went on, things like traffic in our retail
12            stores, traffic in our channel partner stores, the reports of the smartphone
              industry contracting, particularly bad in November – I haven’t seen the December
13            number yet, but I would guess that would not be good either. And so that’s what
              we’ve seen.
14
     ¶145.
15
              169.       On January 2, 2019, Wells Fargo issued a report titled “AAPL: Neg. F1Q19
16
     Prean[nouncement] – iPhone Rev[enue] -15%+ Y/Y; A Multi-Quarter Challenge” which attributed
17
     the earnings miss to the poor performance in China:
18
              Apple has preannounced negative F1Q19 results – revenue now estimated at ~$84B
19            vs. initial $89-$93B guide. We would expect investors to most notably focus on:
              (1) Apple’s implied iPhone revenue at ~$52-$53B given the company’s disclosure
20            that non-iPhone revenue in total grew ~19% y/y in F1Q19. With a blended ASP
              ($/unit) at ~$795 (vs. $793 in F4Q18), we would arrive at a low/mid-teens y/y
21            iPhone unit ship decline. (2) Apple’s greater-than-expected weakness in emerging
              markets, most notably driven by weakness in Greater China. Apple notes that
22            over 100% of Apple’s y/y revenue decline was generated by weakness in Greater
              China across iPhone, iPad, and Mac (leaving us / investors to question the impact
23            of the US-China trade situation).
24 See ¶147.

25            170.       On January 2, 2019, Bloomberg published an article titled “Apple’s iPhone
26 Warning Comes Years Too Late – The company has reached the end of its denial phase” reporting
27 that just “two months ago” Cook had been calling performance in China “very strong” and it was

28 unlikely that there had been any sudden change which caused the earnings miss:
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 1                   Cook said two months ago that Apple’s China business was “very strong,”
              even amid signs of an economic slowdown and months of headlines about trade
 2            tensions with the U.S. He consistently told investors that he thought the U.S. and
              China would resolve their trade dispute amicably and didn’t give any indications
 3            that consumers were on edge or reluctant to shop because of the geopolitical
              fracas. It’s possible that the last couple of months of economic circumstances in
 4            China, Taiwan and Hong Kong caught Apple by surprise, but executives failed to
              give any hints of red flags in the region.
 5
                     It’s possible conditions in China changed quickly, but the broader trends in
 6            smartphone activity are not new. Why didn’t Cook make any of these admissions
              before now?
 7
     See ¶148.
 8
              171.       On January 3, 2019, Wedbush issued a report titled “Apple’s Darkest Day in the
 9
     iPhone Era; Massive Negative Dec Results on China” in which it referred to the pre-announcement
10
     variously as “Apple’s Darkest Day,” a “bombshell,” a “‘black eye,’” and a “defining moment for
11
     Cook & Co.” The report stated in relevant part:
12
                      Last night Apple delivered a bombshell negative preannouncement that
13            will be a defining moment for Cook & Co. for years to come. While the Street had
              been anticipating softness in the December quarter and around March guidance
14            given a slew of negative iPhone XS/XR data points coming out of the Asia supply
              chain over the past few months, the magnitude of the top-line miss (~8%) with
15            China demand the culprit was jaw dropping in our opinion and will heavily weigh
              on shares accordingly.
16
     See ¶149.
17
              172.       On January 3, 2019, Morgan Stanley issued a report titled “Weak China More than
18
     Offsets Revenue Strength Outside of iPhone; Lowering Estimates” stating this was the Company’s
19
     first negative preannouncement in 15 years:
20
                     Weak Greater China iPhone sales largely to blame for Apple’s first
21            negative preannouncement in 15 years. As we highlighted in early December,
              China is following in the footsteps of the US market with lengthening smartphone
22            replacement cycles slowing overall market growth. A weakening economy
              combined with improved smartphone product quality (i.e. higher quality
23            components and assembly leading to longer useful lives), smartphone ASPs that
              are up 22% over the past two years (per IDC) and a lack of carrier subsidies
24            contributed to weaker China iPhone sales in the December quarter.

25 See ¶150.

26            173.       On the shocking news of January 2, 2019, when the true financial condition of the
27 Company was disclosed, Apple’s stock price declined precipitously by more than $15.00 per share,

28 or approximately 10%, to a close of $142.19 per share on January 3, 2019, on unusually high
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 1 volume of more than 91.1 million shares traded, the highest one-day trading volume experienced

 2 by the Company in nearly two years.

 3 VIII. APPLICABILITY OF THE FRAUD ON THE MARKET AND AFFILIATED
           UTE PRESUMPTIONS OF RELIANCE
 4
           174. Plaintiff will rely upon the presumption of reliance established by the fraud-on-the-
 5
   market doctrine in that, among other things:
 6
                   (a)    Defendants made public misrepresentations or failed to disclose material
 7
   facts during the Class Period;
 8
                   (b)    the omissions and misrepresentations were material;
 9
                   (c)    the Company’s common stock traded in an efficient market;
10
                   (d)    the misrepresentations alleged would tend to induce a reasonable investor
11
   to misjudge the value of the Company’s common stock; and
12
                   (e)    Plaintiff and other members of the Class purchased Apple common stock
13
   between the time Defendants misrepresented or failed to disclose material facts and the time the
14
   true facts were disclosed, without knowledge of the misrepresented or omitted facts.
15
           175. At all relevant times, the market for Apple common stock was efficient for the
16
   following reasons, among others:
17
                   (a)    as a regulated issuer, Apple filed periodic public reports with the SEC; and
18
                   (b)    Apple regularly communicated with public investors via established market
19
   communication mechanisms, including through the regular dissemination of press releases on
20
   major news wire services and through other wide-ranging public disclosures, such as
21
   communications with the financial press, securities analysts, and other similar reporting services.
22
           176. Plaintiff will also rely upon the presumption of reliance under Affiliated Ute
23
   Citizens v. United States, 406 U.S. 128 (1972), because the claims asserted herein against
24
   Defendants are predicated upon omissions of material fact for which there was a duty to disclose.
25
   IX.     CLASS ACTION ALLEGATIONS
26
           177. Plaintiff brings this action as a Class action pursuant to Federal Rule of Civil
27
   Procedure 23(a) and (b)(3) on behalf of a Class consisting of all purchasers of Apple common
28
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 1 stock during the Class Period (the “Class”). Excluded from the Class are Defendants and their

 2 families, the officers and directors of the Company, at all relevant times, members of their

 3 immediate families and their legal representatives, heirs, successors, or assigns, and any entity in

 4 which Defendants have or had a controlling interest.

 5            178.       The members of the Class are so numerous that joinder of all members is

 6 impracticable. Throughout the Class Period, Apple common stock was actively traded on the

 7 NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and can

 8 only be ascertained through appropriate discovery, Plaintiff believes that there are hundreds of

 9 thousands of members in the proposed Class. Record owners and other members of the Class may

10 be identified from records maintained by Apple and/or its transfer agent and may be notified of

11 the pendency of this action by mail, using the form of notice similar to that customarily used in

12 securities class actions.

13            179.       Plaintiff’s claims are typical of the claims of the members of the Class as all

14 members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

15 federal law that is complained of herein.

16            180.       Plaintiff will fairly and adequately protect the interests of the members of the Class

17 and has retained counsel competent and experienced in class and securities litigation.

18            181.       Common questions of law and fact exist as to all members of the Class and

19 predominate over any questions solely affecting individual members of the Class. Among the

20 questions of law and fact common to the Class are:

21                       (a)    whether the Exchange Act was violated by Defendants as alleged herein;

22                       (b)    whether statements made by Defendants misrepresented material facts

23 about the business and prospects of Apple; and

24                       (c)    to what extent the members of the Class have sustained damages and the

25 proper measure of damages.

26            182.       A class action is superior to all other available methods for the fair and efficient
27 adjudication of this controversy since joinder of all Class members is impracticable. Furthermore,

28 as the damages suffered by individual Class members may be relatively small, the expense and
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 1 burden of individual litigation make it impossible for members of the Class to individually redress

 2 the wrongs done to them. There will be no difficulty in the management of this action as a Class

 3 action.

 4                                                    COUNT I
 5                                 For Violation of §10(b) of the Exchange Act
                                    and Rule 10b-5 Promulgated Thereunder
 6                                   (Against Defendants Apple and Cook)
 7            183.       Plaintiff incorporates ¶¶1-182 by reference.

 8            184.       During the Class Period, Defendants disseminated or approved the false statements

 9 specified above, which they knew or deliberately disregarded were misleading in that they

10 contained misrepresentations and failed to disclose material facts necessary in order to make the

11 statements made, in light of the circumstances under which they were made, not misleading.

12            185.       Defendants violated §10(b) of the Exchange Act and Rule 10b-5 promulgated

13 thereunder in that they: (a) employed devices, schemes, and artifices to defraud; (b) made untrue

14 statements of material fact or omitted to state material facts necessary in order to make the

15 statements made, in light of the circumstances under which they were made, not misleading; or

16 (c) engaged in acts, practices, and a course of business that operated as a fraud or deceit upon

17 Plaintiff and others similarly situated in connection with their purchases of Apple common stock

18 during the Class Period.

19            186.       Plaintiff and the Class have suffered damages in that, in reliance on the integrity of

20 the market, they paid artificially inflated prices for Apple common stock. Plaintiff and the Class

21 would not have purchased Apple common stock at the prices they paid, or at all, if they had been

22 aware that the market prices had been artificially and falsely inflated by Defendants’ misleading

23 statements.

24                                                    COUNT II
25                                 For Violation of §20(a) of the Exchange Act
                                            (Against All Defendants)
26
              187.       Plaintiff incorporates ¶¶1-186 by reference.
27

28
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 1            188.       The Individual Defendants acted as controlling persons of Apple within the

 2 meaning of §20(a) of the Exchange Act. By reason of their positions with the Company and their

 3 ownership of Apple common stock, the Individual Defendants had the power and authority to

 4 cause Apple to engage in the wrongful conduct complained of herein. Apple controlled the

 5 Individual Defendants and all of its employees. By reason of such conduct, Defendants are liable

 6 pursuant to §20(a) of the Exchange Act.

 7 X.         PRAYER FOR RELIEF
 8            WHEREFORE, Plaintiff prays for relief and judgment as follows:

 9            A.         determining that this action is a proper Class action, having designated Plaintiff as

10 Lead Plaintiff and Class Representative under Rule 23 of the Federal Rules of Civil Procedure and

11 Plaintiff’s counsel as Lead Counsel;

12            B.         awarding compensatory damages in favor of Plaintiff and the other Class members

13 against all Defendants, jointly and severally, for all damages sustained as a result of Defendants’

14 wrongdoing, in an amount to be proven at trial, including interest thereon;

15            C.         awarding Plaintiff and the Class their reasonable costs and expenses incurred in this

16 action, including counsel fees and expert fees; and

17            D.         awarding such equitable/injunctive or other relief as deemed appropriate by the

18 Court.

19 XI.        JURY DEMAND
20            Plaintiff demands a trial by jury.

21    DATED: July 5, 2022                              ROBBINS GELLER RUDMAN
                                                        & DOWD LLP
22                                                     SHAWN A. WILLIAMS
                                                       DANIEL J. PFEFFERBAUM
23                                                     KENNETH J. BLACK
                                                       HADIYA K. DESHMUKH
24

25
                                                                     s/ Shawn A. Williams
26                                                                  SHAWN A. WILLIAMS

27

28
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 1
                                         Post Montgomery Center
 2                                       One Montgomery Street, Suite 1800
                                         San Francisco, CA 94104
 3                                       Telephone: 415/288-4545
                                         415/288-4534 (fax)
 4                                       shawnw@rgrdlaw.com
                                         dpfefferbaum@rgrdlaw.com
 5                                       kennyb@rgrdlaw.com
                                         hdeshmukh@rgrdlaw.com
 6
                                         ROBBINS GELLER RUDMAN
 7                                         & DOWD LLP
                                         MARK SOLOMON
 8                                       JASON A. FORGE
                                         RAPHAELLA FRIEDMAN
 9                                       655 West Broadway, Suite 1900
                                         San Diego, CA 92101
10                                       Telephone: 619/231-1058
                                         619/231-7423 (fax)
11                                       marks@rgrdlaw.com
                                         jforge@rgrdlaw.com
12                                       rfriedman@rgrdlaw.com

13                                       Lead Counsel for Lead Plaintiff

14                                       LABATON SUCHAROW
                                         CAROL C. VILLEGAS
15                                       140 Broadway
                                         New York, NY 10005
16                                       Telephone: 212/907-0700
                                         212/883-7524 (fax)
17                                       cvillegas@labaton.com

18                                       Counsel for Employees’ Retirement System of the
                                         State of Rhode Island
19
                                         VANOVERBEKE, MICHAUD & TIMMONY,
20                                       P.C.
                                         THOMAS C. MICHAUD
21                                       79 Alfred Street
                                         Detroit, MI 48201
22                                       Telephone: 313/578-1200
                                         313/578-1201 (fax)
23                                       tmichaud@vmtlaw.com

24                                       Additional Counsel

25

26
27

28
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